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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DAVID   LEIBOWITZ,  BENJAMIN
LEIBOWITZ, JASON LEIBOWITZ,
AARON LEIBOWITZ, and PINCHAS
GOLDSHTEIN

      Plaintiffs,

v.
                                        No. __________________
IFINEX INC., BFXNA INC., BFXWW
INC., TETHER HOLDINGS LIMITED, JURY TRIAL DEMANDED
TETHER OPERATIONS LIMITED,
TETHER       LIMITED,    TETHER
INTERNATIONAL           LIMITED,
DIGFINEX INC., PHILIP G. POTTER,
GIANCARLO              DEVASINI,
LUDOVICUS JAN VAN DER VELDE,
REGINALD      FOWLER,    CRYPTO
CAPITAL CORP., and GLOBAL TRADE
SOLUTIONS AG,

      Defendants.

                      CLASS ACTION COMPLAINT


Kyle W. Roche (admission pending)         Velvel (Devin) Freedman
Joseph M. Delich                          (pro hac pending)
ROCHE FREEDMAN LLP                        ROCHE FREEDMAN LLP
185 Wythe Ave. F2                         200 South Biscayne Boulevard
Brooklyn, NY 11249                        Suite 5500
kyle@rochefreemdan.com                    Miami, Florida 33131
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                Plaintiffs David Leibowitz, Benjamin Leibowitz, Jason Leibowitz,

Aaron Leibowitz, and Pinchas Goldshtein individually and on behalf of all others

similar situated, bring this action against iFinex Inc., BFXNA Inc., BFXWW Inc.,

Tether Holdings Limited, Tether Operations Limited, Tether Limited, Tether

International Limited, DigFinex Inc., Philip G. Potter, Giancarlo Devasini,

Ludovicus Jan van der Velde, Reginald Fowler, Crypto Capital Corp., and Global

Trade Solutions AG. (collectively, “Defendants”), and allege as follows:

 I.   INTRODUCTION

                       The methods and techniques of manipulation
                        are limited only by the ingenuity of man.1

      1.        This action concerns a sophisticated scheme that coopted a disruptive

innovation — cryptocurrency — and used it to defraud investors, manipulate

markets, and conceal illicit proceeds.

      2.        Part-fraud, part-pump-and-dump, and part-money laundering, the

scheme was primarily accomplished through two enterprises — Bitfinex and Tether

— that commingled their corporate identities and customer funds while concealing

their extensive cooperation in a way that enabled them to manipulate the

cryptocurrency market with unprecedented effectiveness.




      1
          Cargill, Inc. v. Hardin, 452 F.2d 1154, 1163 (8th Cir. 1971).


                                                 2
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       3.       Founded in 2012, Bitfinex is one of the world’s largest cryptocurrency

exchanges — a marketplace for individuals to buy and sell various cryptocurrencies.

       4.       Tether is the central authority over the cryptocurrency called “tether,”

or “USDT” 2 — one of the world’s first “stablecoins.” While most cryptocurrencies

are not backed by tangible assets, “stablecoins,” such as USDT, aim to solve the

volatility inherent in cryptocurrency by pegging themselves to a tangible asset held

in reserve.

       5.       Together, Bitfinex and Tether manipulated a market that, by design, is

supposed to be decentralized.

       6.       At the heart of this scheme was Tether’s claim “that the number of

[USDT] tokens in circulation will always equate to the dollars in its bank account.”

This claim enabled Bitfinex and Tether to signal to the market that there was rapidly

growing demand for cryptocurrencies because each USDT printed represented

another U.S. dollar invested into the market.

       7.       This claim was a lie.

       8.       Tether issued extraordinary amounts of unbacked USDT to manipulate

cryptocurrency prices. Because the market believed the lie that one USDT equaled



       2
         Hereinafter, for purposes of clarity, this Complaint will refer to Tether the company as
“Tether” and tether the cryptocurrency as USDT, which is short for “United States Dollar
Tether.” Tether does issue other “tether” coins “pegged” to different currencies, for example the
“Euro tether” (EURT), which are similarly referred to by their trading symbols.


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one U.S. dollar, Bitfinex and Tether had the power to, and did, manipulate the market

on an unprecedented scale to profit from boom-and-bust cycles they created.

       9.       From 2017 through 2018, Tether printed 2.8 billion USDT and used it

to flood the Bitfinex exchange and purchase other cryptocurrencies. This artificially

inflated demand for cryptocurrencies and caused prices to spike.

       10.      As the cryptocurrency market reached a fever pitch, Tether’s mass

issuance of USDT created the largest bubble in human history. When it burst, over

$450 billion of value disappeared in less than a month. The fallout continues to affect

the cryptocurrency market, including by causing prices to be lower than they would

have been but for the manipulation.




                                                                              3




       3
        Exhibit 1, Eric Lam, Mathieu Benhamou & Adrian Leung, Did Bitcoin Just Burst? How
It Compares to History’s Biggest Bubbles, BLOOMBERG (Jan. 17, 2018), https://perma.cc/DL4Z-
6JDQ.


                                            4
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       11.     As explained below, economists estimate that from 2017 to 2018 as

much as half the growth in the cryptocurrency market was driven by Bitfinex and

Tether’s manipulative scheme.

       12.     In a brash display of lawlessness, Tether and Bitfinex continue to

defraud the market, even in the face of an ongoing investigation by the New York

Attorney General, the CFTC, and the Department of Justice.

       13.     Fully aware of the incredible harm they’ve inflicted on the

cryptocurrency market, on October 5, 2019, Bitfinex and Tether published

statements where they generally described the allegations contained herein, admitted

that they “fully expect” to be sued, and stated that they “would not be surprised if

just such a lawsuit will be filed imminently.”4

       14.     Calculating damages at this stage is premature, but there is little doubt

that the scale of harm wrought by the Defendants is unprecedented. Their liability to

the putative class likely surpasses $1.4 trillion U.S. dollars.5




       4
        Bitfinex Anticipates Meritless and Mercenary Lawsuit Based on Bogus Study,
BITFINEX.COM  (Oct. 5, 2019), https://perma.cc/9TTB-27B8; Tether Anticipates Meritless and
Mercenary Lawsuit Based on Bogus Study, TETHER.TO (Oct. 5, 2019), https://perma.cc/Z7H3-
2YA2.
       5
         “The combined market capitalization of all virtual currencies as of January 6, 2018, was
roughly $795 billion; by Feb. 6, 2018, the total value had dropped to $329 billion.” CFTC v.
McDonnell, 287 F. Supp. 3d 213, 219 (E.D.N.Y. 2018). This time period alone represents
potential damages of $466 billion before being trebled under the antitrust and RICO statutes.


                                               5
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II.      PARTIES

      A. Plaintiffs

         15.     Plaintiff David Leibowitz is a citizen of West Palm Beach, Florida.

Since July 2014, David has held a legal interest in the cryptocurrencies bitcoin and

bitcoin cash through his holdings in the Pantera Bitcoin Fund Ltd.6 During the

relevant time period, David also personally owned the cryptocurrencies ether and

litecoin.

         16.     Jason Leibowitz is a citizen of New York, New York. During the

relevant time period, Jason Leibowitz owned bitcoin, bitcoin cash, ether, ether

classic, litecoin, bitcoin gold, Ripple XRP, Stellar Lumens, Tron, QTUM, Monero,

ZCash, Dash, Augur, NEO, EOS, WAVES, OMG, Cardano, NEM, IOTA, POWR,

ICON, and STEEM.

         17.     Benjamin Leibowitz is a citizen of New York, New York. During the

relevant time period, Benjamin Leibowitz owned bitcoin, bitcoin cash, ether,

litecoin, bitcoin gold, Ripple XRP, Stellar Lumens, Monero, ZCash, OMG, Cardono,

NEO, and POWR.




         6
          Pantera Bitcoin Fund is a long-only non-discretionary hedge fund that invests 100% of
its subscriptions into bitcoin and bitcoin cash. It provides investors with quick, secure access to
large amounts of bitcoin and bitcoin cash — without the burdens of trading and safekeeping
them. See PANTERACAPITAL.COM, https://perma.cc/G388-J89S.


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       18.       Aaron Leibowitz is a citizen of Westchester, New York. During the

relevant time period, Aaron Leibowitz owned bitcoin, bitcoin cash, ether, Waves,

and EOS.

       19.       Pinchas Goldshtein is a citizen of Miami, Florida. During the relevant

time period, Pinchas Goldhstein owned bitcoin and bitcoin future contracts.

   B. Defendants

                i.    DigFinex

       20.       Defendant DigFinex Inc. is incorporated in, and a citizen of, the British

Virgin Islands.7 DigFinex operates as the ultimate parent company of the Bitfinex

Defendants (defined below), the Tether Defendants (defined below), and is the

majority owner of iFinex, Inc., and Tether Holdings Limited.8

       21.       The shareholders of DigFinex are Ludovicus Jan van der Velde,

Giancarlo Devasini, Paolo Ardoino,9 Philip Potter, Stuart Hoegner,10 and Perpetual

Action Group (Asia) Inc.11




       7
         Exhibit 2, Aff. of Whitehurst ¶ 89 ECF No. 1, James v. iFinex Inc., No. 450545/2019
(N.Y. Sup. Ct. April 25, 2019) (“Whitehurst Affirmation”); Exhibit 3, ECF No. 16, James v.
iFinex (N.Y. Sup. Ct. April 25, 2019) (“DigFinex and iFinex Register of Directors”).
       8
         Exhibit 2 ¶ 8, 16 (Whitehurst Affirmation); Exhibit 4, Certificate of Interested Entities,
ECF No. 4, iFinex Inc. v. Wells Fargo, No. 3:17-CV-01882 (N.D. Cal. April 5, 2017)
(“Certificate of Interested Entities”).
       9
           Ardoino is the Chief Technical Officer of both Bitfinex and Tether.
       10
            Hoegner is the General Counsel of both Bitfinex and Tether.
       11
            Exhibit 4 (Certificate of Interested Entities).


                                                    7
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               ii.   The Bitfinex Defendants

       22.       Defendants iFinex Inc., BFXNA Inc., and BFXWW Inc. are owned and

operated by the same small group of executives and employees that together operate

an online platform called “Bitfinex” for exchanging and trading virtual currency.12

Plaintiffs provide more detailed allegations about these Defendants below, but for

ease of reference and unless otherwise noted, this Complaint will refer to these

Defendants collectively as “Bitfinex” or the “Bitfinex Defendants.”

       23.       Defendant iFinex Inc. is incorporated in, and a citizen of, the British

Virgin Islands.13 iFinex owns and operates the online cryptocurrency exchange

called “Bitfinex” accessible at bitfinex.com.14 It is also the holding company that

wholly owns Defendants BFXNA Inc. and BFXWW Inc.15

       24.       Defendant BFXNA Inc. is incorporated in, and a citizen of, the British

Virgin Islands.16 It is the entity that interfaces with U.S. customers that want trade

on the Bitfinex exchange.17


       12
            Exhibit 2 ¶ 10 (Whitehurst Affirmation).
       13
          Exhibit 2 ¶ 7, (Whitehurst Affirmation); Exhibit 3 (DigFinex and iFinex Register of
Directors).
       14
        Terms of Service, BITFINEX.COM § 14.5 (July 12, 2019) (“The Site and Services are
owned by iFinex.”), https://perma.cc/4U5J-3MKY.
       15
          Exhibit 2 ¶ 8, (Whitehurst Affirmation); Exhibit 5, Aff. of Hoegner ¶ 3, ECF No. 78,
James v. iFinex (N.Y. Sup. Ct. May 21, 2019).
       16
            Exhibit 5 ¶ 3 (Hoegner Affirmation).
       17
            Terms of Service, BITFINEX.COM, at preamble (July 12, 2019), https://perma.cc/4U5J-
3MKY.


                                                   8
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      25.          Defendant BFXWW Inc. is incorporated in, and a citizen of, the British

Virgin Islands.18 It is the entity that interfaces with non-U.S. customers that want to

trade on the Bitfinex exchange.19

                 iii.   Tether Defendants

      26.          Defendants Tether Holdings Limited, Tether Limited, Tether

Operations Limited, and Tether International Limited are owned and operated by the

same small group of executives and employees that together operate an enterprise

called “Tether” which is the central authority over, and issuer of, USDT. For ease of

reference and unless otherwise noted, this Complaint refers to these Defendants as

“Tether” or the “Tether Defendants.”

      27.          Defendant Tether Holdings Limited is incorporated in, and a citizen of,

the British Virgin Islands.20 It is the holding company of Defendants Tether Limited,

Tether Operations Limited, and Tether International Limited.21




      18
           Exhibit 5 ¶ 3 (Hoegner Affirmation).
      19
           Terms of Service, BITFINEX.COM, at preamble (July 12, 2019), https://perma.cc/4U5J-
3MKY.
      20
           Exhibit 2 ¶ 13 (Whitehurst Affirmation); Exhibit 5 ¶ 5 (Hoegner Affirmation)..
      21
           Id.


                                                  9
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        28.       Defendant Tether Operations Limited appears to be incorporated in,

and a citizen of, the British Virgin Islands.22 It is the entity that interfaces with

Tether’s U.S. customers that want to trade USDT.23

        29.       Defendant Tether International Limited is incorporated in, and a citizen

of, the British Virgin Islands. 24 It is the entity that interfaces with Tether's non-U.S.

customers that want to trade USDT.25

        30.       Defendant Tether Limited is incorporated in, and a citizen of, Hong

Kong. 26 Tether Limited is the entity that issues USDT.27




        22
             Exhibit 6, Tether Operations Limited, LEI-LOOKUP.COM, https://perma.cc/5RGR-9X8E.
       While the Office of the New York Attorney General alleged that Tether Operations
Limited and Tether International Limited were incorporated in Hong Kong, Plaintiffs were
unable to identify any corroborating records in the Hong Kong registry.
        23
             Exhibit 2 ¶ 13 (Whitehurst Affirmation).
        24
             Exhibit 7, Tether International Limited, LEI-LOOKUP.COM, https://perma.cc/JUR6-
DHZE.
        25
             Exhibit 2 ¶ 13 (Whitehurst Affirmation).
        26
           Exhibit 8 (Hong Kong Registry-Tether Limited), https://perma.cc/RDU3-9E7D. Tether
Limited also has a lapsed Legal Entity Identifier (LEI) that incorrectly identifies a different
address in Taiwan as its registered address. Exhibit 9, Tether Limited, LEI-LOOKUP.COM,
https://perma.cc/FLT7-B8L7.
        27
          Exhibit 10, Tether: Fiat currencies on the Bitcoin blockchain, TETHER.TO at 4 (June
2016) (the “Tether White Paper”), https://perma.cc/HM4V-5B3L.


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                  iv.   The Individual DigFinex, Bitfinex, and Tether Defendants

       31.          Defendant Ludovicus Jan van der Velde28 (“Velde”) is the Chief

Executive Officer of both the Bitfinex and Tether enterprises.29 He has held this

position since early 2013.30 Velde is one of two directors listed on the corporate

registries of DigFinex, iFinex, and Tether Limited.31 Velde is also a shareholder of

DigFinex and Tether Holdings Limited, and is the former CEO of DigFinex

shareholder Perpetual Action Group (Asia).32 Velde is a citizen of the Netherlands.33

       32.          Defendant Giancarlo Devasini was involved in creating Bitfinex. He is

the Chief Financial Officer of Bitfinex and Tether.34 Devasini is the other director

identified on the corporate registries of DigFinex, iFinex, and Tether Limited.35 He




       28
            Defendant van der Velde sometimes use the aliases JL, Jan Ludovicus, and Jean-Louis.
       29
          Bitfinex Leadership – Jean-Louis van der Velde, Chief Executive Officer, BITFINEX.COM
(Mar. 12, 2018), https://perma.cc/3XVL-DNQC.
       30
            Id.
       31
         Exhibit 3 (DigFinex and iFinex Register of Directors); Exhibit 8 (Hong Kong Registry-
Tether Limited).
       32
          Exhibit 4 (Certificate of Interested Entities); Exhibit 11 (LinkedIn page identifying
Velde as former CEO of Perpetual Action Group (Asia)).
       33
            Exhibit 3 (DigFinex and iFinex Register of Directors).
       34
          Bitfinex Leadership – Giancarlo Devasini, Chief Financial Officer, BITFINEX.COM (Mar.
12, 2018), https://perma.cc/4B32-XAWZ. Devasini was also the president of Smart Property
Solutions SA, the Swiss company behind Tether’s Euro-backed stablecoin EURT. See Terms of
Service, TETHER.CH (Sep. 10, 2017), https://perma.cc/L77C-BTKP; Exhibit 12, Commercial
Register, SWISS OFFICIAL GAZETTE OF COMMERCE (May 16, 2017), https://perma.cc/7LG6-
QAWX.
       35
         Exhibit 3 (DigFinex and iFinex Register of Directors); Exhibit 8 (Hong Kong Registry-
Tether Limited).


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is also a shareholder of Tether Holdings Limited and DigFinex.36 Devasini is a

citizen of Italy. In the early days of Bitfinex and Tether, Devasini posted under the

username “urwhatuknow” on the bitcointalk.org forum.37

       33.       Defendant Philip G. Potter was the Chief Strategy Officer of the

Bitfinex and Tether enterprises until June 2018.38 He also was or is a director of

Tether Holdings Limited and a shareholder in DigFinex.39 Potter is a citizen of New

York.40

                v.    The Crypto Capital Defendants

       34.       Defendant Crypto Capital Corp. is incorporated in, and citizen of,

Panama.41 Crypto Capital Corp operated as a “payment processor” that marketed

itself to cryptocurrency exchanges.42 In reality, it served as an illegal “shadow bank”




       36
            Exhibit 4 (Certificate of Interested Entities).
       37
           See, e.g., Re: [Beta]Bitfinex.com first Bitcoin P2P lending platform for leverage
trading, BITCOINTALK.ORG (April 22, 2013), https://perma.cc/RTL5-GSNS. Bitcointalk.org is an
internet forum dedicated to the discussion of bitcoin and other cryptocurrencies.
       38
           Anna Irrera, Bitfinex chief strategy officer departs, REUTERS (June 22, 2018),
https://perma.cc/A4Z2-HDYF.
       39
       Tether Holdings Limited, OFFSHORE LEAKS DATABASE, https://perma.cc/UDT7-
ACVW; Exhibit 4 (Certificate of Interested Entities).
       40
        Exhibit 13 at 2, ECF No. 95, James v. iFinex (N.Y. Sup. Ct. July 8, 2019) (Feb. 2018
Bank Account Application).
       41
            Crypto Capital Corp., OPENCORPORATES.COM, https://perma.cc/CX94-QSCU.
       42
            CRYPTOCAPITAL.CO     (Oct. 4, 2019), https://perma.cc/D3CL-HQ6L.


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that granted the Bitfinex and Tether enterprises access to the global financial system

without regulatory oversight.

       35.    Defendant Global Trade Solutions AG is incorporated in, and a citizen

of, Switzerland.43 Global Trade Solutions AG owns and operates Crypto Capital

Corp.44 The Swiss regulatory agency FINMA placed Global Trade Solutions AG on

its public warning list in May 2019.45

       36.    Defendant Reginald Fowler acted as an employee, agent, or partner of

Defendant Crypto Capital Corp. and Global Trade Solutions AG.46 He is a citizen of

the United States and a resident of Arizona.

       37.    For ease of reference, organizational charts of certain Defendants and

their various relationships to one another are attached as Exhibit 16.




       43
           Kanton Zug Commercial Register, ZG.CHREGISTER.CH (Oct. 4, 2019),
https://perma.cc/P8A9-U7QA.
       44
         CRYPTOCAPITAL.CO (Oct. 4, 2019) (“Crypto Capital is owned and operated by Global
Trade Solutions AG”), https://perma.cc/D3CL-HQ6L.
       45
          Public Warning List, FINMA.CH, https://perma.cc/HG4N-CPA7. FINMA uses its
warning list to identify “companies and individuals who may be carrying out unauthorized
services and are not supervised by FINMA.” Id., https://perma.cc/W5FD-B8KP.
       46
           Exhibit 14 at 1, 5, Mem. In Support of Detention, ECF No. 6, United States v. Fowler,
No. 19-9181MJ (D. Ariz. May 1, 2019) (Fowler Memorandum); Exhibit 15 ¶ 8, Superseding
Indictment, ECF No. 7, United States v. Fowler, No. 19-CR-254 (S.D.N.Y. April 30, 2019)
(“Fowler Indictment”); Robert-Jan den Haan, Indictment reveals new clues in the Crypto Capital
situation, YAHOO (May 2, 2019), https://perma.cc/D763-NMYS.


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III.   JURISDICTION AND VENUE

       38.    The court has original jurisdiction over the federal claims in this action

pursuant to 28 U.S.C. §§ 1331 and 1337 and 18 U.S.C. § 1964(c).

       39.    Venue lies within this District under 15 U.S.C. § 22, 18 U.S.C. § 1965,

and 28 U.S.C. § 1391 because Defendants resided, transacted business, were found,

or had agents in this District, and a substantial portion of the alleged activity affected

interstate trade and commerce in this District.

       40.    During the Class Period,47 Defendants used the instrumentalities of

interstate commerce, including interstate wires, to effectuate their illegal scheme.

       41.    Defendants’ manipulation, conspiracy, and conduct alleged herein was

in U.S. import commerce and/or had direct, substantial and reasonably foreseeable

effects on U.S. domestic commerce, and such effects give rise to Plaintiffs’ claims,

within the meaning of 15 U.S.C. § 6a.

       42.    This Court has personal jurisdiction over each Defendant, because each

Defendant transacted business, maintained substantial contacts, and/or they or their

coconspirators committed overt acts in furtherance of their illegal conspiracy, in the

United States, including in this District. The scheme was directed at, and had the




       47
         The Class Period is defined as the period between Tether’s first USDT issuance
(October 6, 2014) to the present.


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intended effect of, causing injury to persons residing in, located in, or doing business

in this District.

        43.       The Court also has quasi in-rem jurisdiction over the Defendants by

virtue of their U.S. dollar accounts in New York.

IV.     FACTUAL ALLEGATIONS

      A. Cryptocurrencies and Cryptocurrency Exchanges

        44.       A cryptocurrency is a digital asset designed to work as a medium of

exchange and/or a store of value. Cryptocurrencies leverage a variety of

cryptographic principles to secure transactions, control the creation of additional

units, and verify the transfer of the underlying digital assets.

        45.       Bitcoin48 was the world’s first decentralized cryptocurrency. It is also

the largest and most popular cryptocurrency with a market cap of $147 billion as of

October 5, 2019.49 Bitcoin spawned a market of cryptocurrencies that, together with

bitcoin, have a current market cap of $219 billion.

        46.       At its core, Bitcoin is a ledger that tracks the ownership and transfer of

every bitcoin in existence. This ledger is called the blockchain.




        48
          The term “bitcoin” can refer to both a computer protocol and a unit of exchange.
Accepted practice is to use the term “Bitcoin” to label the protocol, software, and community,
and the term “bitcoin” to label the units of exchange.
        49
             https://coinmarketcap.com/.


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      47.    Instead of a bank account number, each bitcoin user has a “public key”

that is the address used to receive bitcoin from others. Every public key can be

readily identified on the Bitcoin blockchain along with the number of bitcoins

associated with that particular public key.

      48.    There are two methods of acquiring bitcoin.

      49.    The first is to “mine” it. Because there is no centralized authority that

keeps track of bitcoin spending, the Bitcoin protocol issues new bitcoin to

individuals that expend computing power to update its ledger. This process is called

bitcoin mining.

      50.    The second is to get it from someone else. Practically, this can be

accomplished by receiving bitcoin as a gift or by purchasing it.

      51.    Online cryptocurrency exchanges are one place to purchase bitcoin.

Cryptocurrency exchanges are similar to traditional stock or commodities exchanges

in that they provide a convenient marketplace to match buyers and sellers of virtual

currency.

      52.    Early on, bitcoin was the only cryptocurrency available on exchanges.

As cryptocurrencies grew in popularity, however, exchanges began listing other

cryptocurrencies as well.

      53.    As the cryptocurrency market grew, trading volumes on exchanges

grew as well. In early 2013, daily bitcoin trading volumes hovered between $1



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million and $25 million. By the end of 2017, daily bitcoin trading volumes ranged

between $200 million and $3.8 billion.50

   B. Bitfinex

       54.       Bitfinex was publicly announced in 2013 when its Chief Technology

Officer, Raphael Nicolle, posted about its creation on the popular online

cryptocurrency forum bitcointalk.org.51

       55.       Bitfinex is now one of the “largest and least regulated” cryptocurrency

exchanges in the world.52 While many exchanges only facilitate crypto-to-crypto

transactions, Bitfinex is one of relatively few that allows users to deposit and

withdraw “fiat currency.”53

       56.       Bitfinex has made conflicting statements about its operational

locations. Some statements identify its principal place of business as Hong Kong,




       50
            https://www.blockchain.com/charts/.
       51
            [BETA]Bitfinex.com first Bitcoin P2P lending platform for leverage trading,
BITCOINTALK.ORG    (Oct. 22, 2012), https://perma.cc/XRX7-B22T.
       52
         Exhibit 17, Nathaniel Popper, Bitcoin’s Price Was Artificially Inflated, Fueling
Skyrocketing Value, Researchers Say, N.Y. TIMES (June 13, 2018), https://perma.cc/U6UV-
KQ3V.
       53
           Fiat currency is legal tender whose value is backed by the government that issued it,
e.g., dollars or euros.


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China.54 Others only identify offices in Taiwan.55 In 2019, Bitfinex’s General

Counsel, swore that “[n]either Bitfinex nor Tether has a single headquarters or home

office. Rather, the Companies have decentralized operations in different countries

including Hong Kong, Switzerland, and Taiwan.”56 Today, Bitfinex’s website

identifies only London and Taiwan locations.57

       57.        In June 2016, the Commodity Futures Trading Commission (the

“Commission”) fined Bitfinex $75,000 after finding that “Bitfinex engaged in

illegal, off-exchange commodity transactions and failed to register as a futures

commission merchant, in violation of Section 4(a) and 4d of the [Commodity

Exchange] Act.” 58

       58.        The Commission also found that “[b]itcoin and other virtual currencies

are encompassed in the definition and properly defined as commodities, and are

therefore subject as a commodity to applicable provisions of the [Commodity

Exchange] Act and Regulations.”59


       54
          Exhibit 18, In re BFXNA Inc., CFTC No. 16-19, 2016 WL 3137612, *1 (June 2, 2016)
(consent order between the CFTC and Bitfinex identifying Hong Kong as its principal place of
business); @Bitfinex, TWITTER (Sep. 5, 2017), https://perma.cc/YKA4-S6U5 (Bitfinex’s official
Twitter account identifying its location as Hong Kong).
       55
         Exhibit 19, Compl. ¶¶ 6–8, ECF No. 1, iFinex v. Wells Fargo (N.D. Cal. April 5, 2017)
(“Wells Fargo Complaint”).
       56
            Exhibit 5 ¶ 6 (Hoegner Affirmation) (emphasis added).
       57
            Bitfinex Privacy Policy, BITFINEX.COM (Aug. 18, 2019), https://perma.cc/ZQ3H-N46Y.
       58
            Exhibit 18 at 2 (2016 CFTC Order).
       59
            Id. at 5.


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   C. Tether

       59.    Tether is the entity in control of the cryptocurrency USDT, one of the

first stablecoins. Stablecoins are cryptocurrencies designed to maintain a consistent

value relative to one or more assets such as gold or fiat currency. Unlike the

underlying asset it represents, a stablecoin can be transferred between parties across

borders instantaneously with minimal cost.

       60.    Stablecoins attempt to address the illiquidity and price volatility in the

cryptocurrency market. Indeed, price volatility is one of the main obstacles to

widespread adoption of cryptocurrencies as a means of exchange and store of

value.60 As a former CEO of Goldman Sachs put it, “Something that moves up and

down 20 percent in a day doesn’t feel like a store of value.”61

       61.    Unlike bitcoin, USDT cannot be mined. Instead, Tether unilaterally

controls the creation of new USDT.

       62.    Tether’s beginnings trace back to July 2014, when a startup called

Realcoin claimed it had produced the first stablecoin that would “be backed one-to-

one by a fully auditable reserve of dollars.”62 Realcoin was founded by investor



       60
           John O. McGinnis & Kyle Roche, Bitcoin: Order Without Law in the Digital Age, 94
IND. L.J. __ (forthcoming 2019), https://ssrn.com/abstract=2929133.
       61
       Exhibit 20, Dakin Campbell, Blankfein Says It’s Too Soon for a Bitcoin Strategy,
BLOOMBERG (Nov. 30, 2017), https://perma.cc/73SS-WB42.
       62
           Exhibit 21, Michael J. Casey, Dollar-Backed Digital Currency Aims to Fix Bitcoin’s
Volatility Dilemma, WALL ST. J. (July 8, 2014), https://perma.cc/NX5W-UTYZ.


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Brock Pierce,63 its first CEO Reeve Collins, and software engineer Craig Sellars.

According to Collins, by issuing realcoins they were “digitizing the dollar and giving

that digital dollar access to the Bitcoin blockchain.”64

       63.        Collins stated that realcoins would “be introduced or removed from

circulation depending on whether dollars are being added or redeemed.”65 He also

claimed that Realcoin had already found a “major banking partner,” that it would

“maintain a real-time record of its dollar-based reserves,” and that its “lawyers

[were] working to obtain U.S. money transmitter licenses from those states that

require them.”66

       64.        In November 2014, Realcoin renamed itself Tether and rebranded

realcoins as “tether” or USDT, the ticker under which the token is listed on

cryptocurrency exchanges around the world.67




       63
            Pierce is a is an American entrepreneur known for his enthusiasm for cryptocurrencies.
       64
           Exhibit 21, Dollar-Backed Digital Currency, WALL ST. J. (July 8, 2014),
https://perma.cc/NX5W-UTYZ.
       65
            Id.
       66
            Id.
       67
         Pete Rizzo, Realcoin Rebrands as ‘Tether’ to Avoid Altcoin Association, COINDESK
(Nov. 20, 2014), https://perma.cc/DD89-UPL8.


                                                20
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       65.      In September 2014, two months prior to the rebranding, Defendants

Potter and Devasini incorporated Tether Holdings Limited in the British Virgin

Islands.68

       66.      One month later, on October 6, 2014, Tether issued its first batch of

stablecoins, “printing” 100 USDT — allegedly equivalent to $100.69

       67.      After the rebranding, Collins reiterated the Realcoin promise. He

publicly asserted “that the number of [USDT] in circulation will always equate to

the dollars in its bank account” and “that there are no pegs or formulas that

complicate the process for its partners.”70 He was unequivocal about the

implications: “When you want to redeem them, we issue you cash.”


       68
            Tether Holdings Limited, OFFSHORE LEAKS DATABASE, https://perma.cc/UDT7-
ACVW.
       69
            OMNIEXPLORER.INFO,   https://perma.cc/L9ZQ-LPSS.
       Tether initially issued USDT on the Omni layer of the Bitcoin blockchain, but over time
began to offer USDT tokens on other networks that included Ethereum, Tron, and EOS.
Issuances can be tracked through the following addresses designated as the Tether Printer for
each network:
        Omni (Oct. 6, 2014 – April 24, 2019):
https://www.omniexplorer.info/address/3MbYQMMmSkC3AgWkj9FMo5LsPTW1zBTwXL.
        Omni (April 24, 2019 – Present):
https://www.omniexplorer.info/address/32TLn1WLcu8LtfvweLzYUYU6ubc2YV9eZs.
        Ethereum (Nov. 28, 2017 – Present):
https://etherscan.io/token/0xdac17f958d2ee523a2206206994597c13d831ec7?a=0xc6cde7c39eb2
f0f0095f41570af89efc2c1ea828.
       EOS (July 22, 2019 – Present): https://bloks.io/account/tethertether.
        Tron (April 13, 2019 – Present):
https://www.trxplorer.io/address/THPvaUhoh2Qn2y9THCZML3H815hhFhn5YC.
       70
            Realcoin Rebrands, COINDESK (Nov. 20, 2014), https://perma.cc/DD89-UPL8.


                                               21
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      68.        The November 2014 rebranding also announced that Tether had formed

“new partnerships in the bitcoin space, including agreements with Hong Kong-based

bitcoin exchange Bitfinex.”71

      69.        The November 2014 announcement did not reveal, though, that it was

Devasini and Potter, i.e., Bitfinex’s CFO and CSO, that had created and have

controlled Tether’s holding company since September 2014.72




      71
           Id.
      72
           Tether Holdings Limited, OFFSHORE LEAKS DATABASE, https://perma.cc/UDT7-
ACVW.


                                            22
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       70.      Nor did it reveal that Velde and Devasini, i.e., Bitfinex’s CEO and CFO,

had similarly incorporated Tether Limited in September and served as its only

directors.73

       71.      An archived copy of the Tether website from March 2015 identified

Potter and Devasini as “advisors” and did not identify Velde at all.74




       72.      The fact that the same individuals in control of Bitfinex — a

cryptocurrency exchange — were also secretly in control of Tether — a

cryptocurrency supposedly backed by the U.S. dollar — is concerning even without

the strong evidence of wrongdoing contained herein.

       73.      This overlapping control structure remained largely concealed from the

general public for over a year until the Paradise Papers leaked in November 2017.75




       73
            Exhibit 8 (Hong Kong Registry–Tether Limited).
       74
            Our Team, TETHER.TO (Mar. 29, 2015), https://perma.cc/UC2T-JEJF.
       75
        Exhibit 22, Nathaniel Popper, Warning Signs About Another Giant Bitcoin Exchange,
N.Y. TIMES (Nov. 21, 2017), https://perma.cc/N33P-WNDG.


                                              23
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       74.       Similarly concerning is that USDT is always initially transferred from

Tether’s “treasury wallet” to Bitfinex and not directly to any other exchanges.

       75.       Tether’s treasury wallet is the account solely controlled by Tether in

which all USDT are created or destroyed. All new USDT are first sent to the Tether

Treasury after being created. Any redeemed USDT must similarly be transferred

back to the Treasury to be “revoked,” i.e. destroyed.76




                                                                              77



       76.       Tether’s exclusive relationship with Bitfinex for initial USDT issuances

means that Bitfinex was often Tether’s only customer.78




       76
            See Exhbit 10 at 8 (Tether White Paper).
       77
         What is Driving Tether’s Growth and What Financial Institutions Could Learn From
It, CHAINALYSIS (Aug. 2018), available at TETHER.TO, https://perma.cc/4MYT-3F8B.
       78
        Robert-Jan Den Haan, Clearing Up Misconceptions: This is How Tether Should (and
Does) Work, BITCOIN MAGAZINE (June 14, 2018), https://perma.cc/6J2Q-2U33.


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      77.      As of this filing, USDT is reportedly the most widely used

cryptocurrency in the world by trading volume, surpassing even bitcoin.79 Bitfinex

and Tether’s Chief Technical Officer recently boasted that USDT possesses a near-

perfect monopoly on the stablecoin market by accounting for 98.7% of worldwide

stablecoin trading volumes.80

      78.      It is also the fourth largest cryptocurrency in the world, with a market

cap of over $4.1 billion based on the over 4.1 billion USDT in circulation, 81 which

should mean Tether holds over $4.1 billion U.S. dollars on deposit in its bank

accounts.

   D. The History of Tether’s 1:1 USDT/USD Guarantee

      79.      Throughout its existence, Tether has marketed USDT as enabling

traders to move in and out of positions across different cryptocurrencies and different

cryptocurrency exchanges. Its pitch is that USDT’s reliable price coupled with its

digital representation on the blockchain offers the best of both worlds. It is stable

and safe like the U.S. dollar while being easily transferable and divisible like other

cryptocurrencies.




      79
        Exhibit 23, Olga Kharif, The World’s Most Used Cryptocurrency Isn’t Bitcoin,
Bloomberg (Oct. 1, 2019), https://perma.cc/9A3H-DYT8.
      80
          Exhibit 24, Olga Kharif, Biggest Crypto Exchange Takes on Tether with Own
Stablecoins, BLOOMBERG (June 5, 2019), https://perma.cc/XNE7-RV78.
      81
           www.coinmarketcap.com.


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       80.        USDT’s value was necessarily derived from Tether’s guarantee that

each USDT was backed by one U.S. dollar held in reserve.

       81.        Up until March 20, 2015, Tether’s website stated that USDT

                  is backed 100% by actual fiat currency assets in our reserve
                  account and always maintains a one-to-one ratio with any
                  currency held. For example, 1 USDT = 1 USD. With almost
                  zero conversion and transfer fees, [USDT] is redeemable for cash
                  at any time.82

       82.        During that same time, Tether’s website also claimed that “Tether

currencies are essentially Dollars, Euros, and Yen formatted to work on the

Blockchain. [USDT]s always hold their value at 1:1 to their underlying assets.” 83

       83.        On June 17, 2016, Tether released a white paper further assuring the

world that each USDT was backed by actual assets. It promised that:

                  [E]ach [USDT] in circulation represents one US dollar held in
                  our reserves (i.e. a one-to-one ratio) which means the system is
                  fully reserved when the sum of all [USDT] in existence (at any
                  point in time) is exactly equal to the balance of USD held in our
                  reserve. 84

       84.        The white paper also referenced Tether’s commitment to “maintaining

the guarantee of 100% redeemability”85 and it promised that USDT “may be

redeemable/exchangeable for the underlying fiat currency pursuant to Tether


       82
           Frequently Asked Questions, TETHER.TO (Mar. 20, 2015) (emphasis added),
https://perma.cc/L46W-VCNX.
       83
            Id.
       84
            Exhibit 10 at 9 (Tether White Paper).
       85
            Id. at 17.


                                                    26
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Limited’s terms of service or, if the holder prefers, the equivalent spot value in

Bitcoin.”86

       85.        Finally, it also included the chart below depicting how USDT are

created when fiat is deposited and then withdrawn from circulation when redeemed

for fiat:87




       86.        A year later on April 5, 2017, during court proceedings against Wells

Fargo, Velde filed a declaration, under penalty of perjury, explaining that:

                  Customers who want to purchase Virtual Currency through
                  Bitfinex must deposit U.S. dollars or [USDT] into their Bitfinex

       86
            Id. at 4.
       87
            Id. at 7–8.


                                             27
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                account and in exchange receive an equivalent amount of Virtual
                Currency until they ask Bitfinex to remit back the U.S. dollars
                they deposited. Likewise, customers who want to purchase
                [USDT] through Tether must deposit U.S. dollars in their Tether
                account and in exchange receive an equivalent amount of
                [USDT] until they ask Tether to remit back the U.S. dollars they
                deposited. . . . For these systems to work, customers depend on
                Bitfinex’s and Tether’s ability to send back to them the U.S.
                dollars they deposited with Bitfinex or Tether.88

       87.      Until February 2019, Tether’s website continued to represent that every

USDT in circulation was “backed 1-1 by traditional currency held in our reserves.

So 1 USDT is always equivalent to 1 USD.”89




       88.      On March 4, 2019, with Tether under criminal investigation by the

Department of Justice, the CFTC, and the New York Attorney General, Tether’s

guarantee was altered to instead assert that every USDT was “1-1 pegged to the

dollar” and “100% backed” by reserves that “from time to time may include other

assets.”90




       88
          Exhibit 25, Decl. of Velde ¶¶ 12, 14, ECF No. 9, iFinex v. Wells Fargo (N.D. Cal.
April 5, 2017) (Velde Declaration).
       89
            TETHER.TO   (Feb. 19, 2019), https://perma.cc/B663-LR72.
       90
            TETHER.TO   (Mar. 04, 2019), https://perma.cc/FWY6-23EP.


                                                28
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      89.       As of August 17, 2019, representations that (1) “outstanding [USDT]

are backed 1-to-1 by traditional currency,” that (2) “1 USDT is always equivalent to

1 USD,” and that (3) “users can freely deposit, trade and withdraw USDT” and

“convert[] these to fiat” continued to appear on Bitfinex’s website.




                                                                                   91




                                                                                   92



      90.       Tether’s counsel represented to the Office of the New York Attorney

General that “issuances of new [USDT] occur when an investor has requested to

purchase [USDT] by depositing U.S. dollars with Tether the company, or by

depositing U.S. dollars with a trading platform that is authorized to accept dollar

deposits in exchange for USDT.”93




      91
           What are Tethers, BITFINEX.COM (Aug. 17, 2019), https://perma.cc/YAT8-S2P8.
      92
           Fiat on Bitfinex, BITFINEX.COM (Aug. 17, 2019), https://perma.cc/5NMJ-G4KT.
      93
           Exhibit 2 ¶ 34 (Whitehurst Affirmation).


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      91.       In spite of these representations — which have shifted in form, but not

in substance over a period of at least five years — USDT are not backed 1:1 by U.S.

dollars, any other currency, or even “other assets.” As explained in detail below,

Tether’s 1:1 USDT/USD guarantee is a lie that has been leveraged by Tether and

Bitfinex to monopolize the stablecoin market and thereby manipulate the

cryptocurrency market.

   E. The Cryptocurrency Market is Susceptible to Manipulation

              “Illiquid markets, such as Bitcoin are easy prey to manipulation.”
                       — Defendant Giancarlo Devasini, Dec. 5, 201294

      92.       Bitfinex and Tether’s plans were aided, in part, by the inherent price

volatility and lack of regulation in the cryptocurrency market. This volatility has left

the cryptocurrency market highly susceptible to price manipulation.

      93.       Volatility is caused by a variety of factors, including the fact that

regulatory agencies are still assessing how to best apply existing regulatory

frameworks to this market.

      94.       Volatility is also due, in part, to the fact that many cryptocurrencies are

commodities, not stocks. They don’t sell products, earn revenue, employ individuals,

or return dividends — qualities that would make them easier to value. And unlike

commonly traded commodities like gold or silver, the cryptocurrency asset class is


      94
           Re: I forced the 10-day high last night. What do you think about that?,
BITCOINTALK.ORG (Dec. 5, 2012),    https://perma.cc/6A6T-Q93F.


                                                30
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comparatively new and doesn’t have a long trading history to help traders understand

the factors underlying its market demand.

       95.      Lastly, volatility is caused by the lack of significant price anchors that

come with large scale institutional capital investments.

       96.      Because these conditions have, to date, created an environment with

significant price volatility, the cryptocurrency market is highly susceptible to price

manipulation.

       97.      One infamous example of such manipulation took place between 2013

and 2014 and was accomplished with an automated trading program coined the

“Willy Bot.”

       98.      Automated trading programs like the Willy Bot enable traders to

execute manipulative tactics with precision. These programs are commonly referred

to as “bots.”

       99.      Between 2013 and 2014, Mark Karpeles, the owner and operator of the

failed cryptocurrency exchange Mt. Gox, implemented the Willy Bot to successfully

manipulate bitcoin’s price from about $150 to over $1,000 in less than 3 months.95




       95
       Exhibit 26, Neil Gandal et al., Price Manipulation in the Bitcoin Ecosystem, 95 J. OF
MONETARY ECON. 86 (2018), https://perma.cc/A9QN-ZV8N.


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When Mt. Gox finally suspended trading due to its insolvency, the price fell to

$500.96

       100. Before its collapse, “Mt. Gox was the biggest trading platform for

bitcoin” and “was handling 70% of all bitcoin trading” worldwide.97 Mark Karpeles

was its sole owner and operator.

       101. On May 25, 2014, an anonymous trader posted a report titled, “The

Willy Report: proof of massive fraudulent activity at Mt. Gox and how it has affected

the price of Bitcoin.”98

       102. The Willy Report provided detailed analysis of Mt. Gox’s leaked

trading logs and concluded that someone had programmed a bot to buy 10-20 bitcoin

every five to ten minutes. The report concluded that this “enormously” affected the

price of bitcoin and played a key role in its rise to $1,000.99

       103. Since then, additional academic research has reached the same

conclusion. In an article published last year, one team found that:

                  suspicious trading activity of a single actor was the primary cause
                  of the massive spike in the USD/BTC exchange rate in which the




       96
           Exhibit 27, Paul Vigna, 5 Things About Mt. Gox’s Crisis, WALL ST. J. (Feb. 25, 2014),
https://perma.cc/A2WH-SXFL.
       97
            Id.
       98
            Exhibit 28 (the “Willy Report”), https://perma.cc/EN6E-2HJP.
       99
            Id.


                                               32
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              rate rose from around $150 to over $1,000 in just two months in
              late 2013.100

        104. The researchers observed that the “Willy account became active on

September 9, 2013” and continued to trade until their data cutoff on November 30,

2013. Because Karpeles owned and operated the exchange, “Willy” never actually

had to pay for bitcoin, but nonetheless bought “around 268,132 for just under $112

million” during that time period. One passage captures their findings particularly

well:

              Separating the days on which Willy was active from those he was
              not, reveals a dramatic difference: In the case of Mt. Gox, the
              average USD/BTC rate increased by $21.85 on the 50 days Willy
              was active; it actually fell (by $0.88 on average) on days when
              Willy was not active. The same dramatic difference holds for the
              other exchanges as well. These results are striking and suggest
              that Willy’s activity could have caused huge jumps in the
              exchange rate on all of the exchanges.




        100
           Exhibit 26, Price Manipulation, 95 J. OF MONETARY ECON. 86 (2018),
https://perma.cc/A9QN-ZV8N.


                                            33
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       105. While it was initially unclear who controlled the Willy Bot, Karpeles

eventually admitted to controlling it at his trial in 2017.101

       106. The Willy Bot scheme underscores how control over an exchange and

the opportunity to make trades with non-existent money allowed a single individual

to dramatically influence cryptocurrency prices, even without sophisticated

manipulation tactics like wash trading, match trading, and spoofing. The simple

power to acquire cryptocurrencies with non-existent U.S. dollars interferes with the

natural price discovery process and misleads market participants.

   F. How Tether and Bitfinex Caused the 2017-18 Bitcoin Bubble

                   This is going to be the largest bubble of our lifetimes. . .
             You can make a whole lot of money on the way up, and we plan on it.
                       —Michael Novogratz, September 26, 2017 102

       107. Bitfinex and Tether leveraged USDT and their control of the Bitfinex

exchange to inflate one of the largest bubbles in history.

       108. From 2014 to 2016, bitcoin’s price fluctuated between $200 and $800.

By the end of 2016, bitcoin — as well as other cryptocurrencies — began to see

significant gains.



       101
        William Suberg, Mt. Gox Trial Update: Karpeles Admits ‘Willy Bot’ Existence,
COINTELEGRAPH (July 11, 2017), https://perma.cc/5FMC-SJYM.
       102
           Exhibit 29, Erik Schatzker, A Crypto Fund King Says Bitcoin Will Be the Biggest
Bubble Ever, BLOOMBERG (Sep. 26, 2017), https://perma.cc/T3PK-RJL2. Novogratz is the CEO
of Galaxy Digital, a New York based cryptocurrency investment firm. The NYAG investigation
into Tether and Bitfinex revealed correspondence between Bitfinex and Galaxy Digital to
onboard Galaxy as a customer of Bitfinex in October 2018.


                                             34
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      109. On March 1, 2017, the price of bitcoin had climbed to $1,200.

Throughout the first half of 2017, bitcoin continued to experience significant gains,

rising to just above $2,000 by July.103




      110. From there, bitcoin’s price rose rapidly until, on December 17, 2017, it

reached a record high of nearly $20,000. By then, bitcoin’s market cap was nearly

$327 billion, roughly the size of Amazon’s market cap during the same period.

      111. Then the market crashed.

      112. Between January and February 2018, bitcoin’s price fell to $6,200. The

bitcoin market continued to hemorrhage throughout 2018. Roughly one year from

its previous high, bitcoin’s market cap was only $62 billion, or $3,500 per bitcoin.

      113. The disappearance of $265 billion in bitcoin wealth was the result of

Bitfinex and Tether propping and popping the largest bubble in history.



      103
            www.coinmarketcap.com.


                                          35
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       114. The chart below conveys the scale of this event by comparing bitcoin’s

relative price inflation with other infamous bubbles.104




       115. The economic devastation was not confined to bitcoin. As bitcoin fell,

so did the rest of the cryptocurrency market it had spawned. “The combined market

capitalization of all virtual currencies as of January 6, 2018, was roughly $795

billion; by Feb. 6, 2018, the total value had dropped to $329 billion.” CFTC v.

McDonnell, 287 F. Supp. 3d 213, 219 (E.D.N.Y. 2018).




       104
           Exhibit 1, Did Bitcoin Just Burst?, BLOOMBERG (Jan. 17, 2018),
https://perma.cc/DL4Z-6JDQ.


                                              36
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       116. As explained below, USDT was not backed 1:1 by U.S. dollars.

Bitfinex and Tether issued billions of unbacked USDT to manipulate the price of

bitcoin and other cryptocurrencies.

       117. This scheme enabled Bitfinex and Tether to buy massive amounts of

bitcoin without paying for it — just like Karpeles in 2013-2014 — and profit

outrageously from the boom-and-bust cycles they created.

              i.   Professor Griffin’s analysis demonstrates Tether and Bitfinex
                   manipulated the price of bitcoin

       118. In June 2018, Professor John Griffin and Amin Shams published an

analysis of USDT issuances on SSRN entitled Is Bitcoin Really Un-Tethered

(hereinafter the “Griffin Article”).105

       119. The Griffin Article’s main conclusion was that USDT-driven price

manipulation of bitcoin accounted for as much as half of bitcoin’s price gains during

the period of March 1, 2017 through March 31, 2018.

       120. The Griffin article examined two alternative hypotheses to explain how

Tether issued USDT during this time frame.

       121. The first hypothesis was that Tether issued USDT in response to

legitimate demand for a pegged digital currency. Under this hypothesis, USDT is


       105
             John Griffin is the James A. Elkins Centennial Chair in Finance at McCombs School
of Business at the University of Texas at Austin. He is a leading expert in Forensic Finance. The
Griffin Article is attached as Exhibit 30, https://ssrn.com/abstract=3195066. As of the time of
this filing, the Griffin Article has the 49th most downloads on SSRN.


                                               37
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fully backed by U.S. dollars. This hypothesis is called the “pulled hypothesis,”

because investors are “pulling” USDT into the market.106

      122. The alternative hypothesis is that Tether issues USDT as part of a

supply-driven scheme to manipulate the price of bitcoin by purchasing it with

unbacked USDT.107 This hypothesis is called the “pushed hypothesis” because

Tether is issuing USDT independently of demand and “pushing” it into the market.

      123. Since Tether controls USDT issuance, Bitfinex and Tether can set

strategic price floors for bitcoin that trigger buy orders executed with unbacked

USDT and costlessly ensure the price of bitcoin never falls below the pre-determined

floor.108 Like the Willy Bot, the persistent purchases would result in significant price

increases over the long-term.

      124. Large USDT issuances and bitcoin purchases would normally have an

inflationary effect that decreases the relative value of USDT relative to bitcoin, but

the reserve guarantee enforces a floor on USDT prices, which causes bitcoin’s price

to increase relative to the U.S. dollar.109 Thus, the issuance of USDT signals an

artificial demand for bitcoin to the market.




      106
            Exhibit 30 at 10 (Griffin Article).
      107
            Id.
      108
            Id. at 11.
      109
            Id.


                                                  38
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       125. Under the pushed scheme, as bitcoin’s price rises, Bitfinex and Tether

can cash out by selling the bitcoin they’ve acquired for U.S. dollars, likely at a slower

pace and on opaque channels with less price impact than their initial buying

patterns.110

       126. In other words, Tether and Bitfinex purchase bitcoin with fake USDT

to draw in momentum investors then cash out by selling it to them for real U.S.

dollars.

       127. If anyone ever asks questions, Tether can convert cryptocurrencies to

U.S. dollars or use its U.S. dollar profits to retroactively provide reserves for USDT

and claim those reserves were there all along.111

       128. To determine which hypotheses was valid, Griffin examined over 200

gigabytes of transactional data from over ten different sources.112 The public nature

of the blockchain meant that Griffin was able to analyze a significant amount of

USDT transactions to date, including issuances.




       110
             Id.
       111
             Id.
       112
             Id. at 12.


                                           39
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       129. Griffin first confirmed that Tether sends all new USDT to Bitfinex, and

that Bitfinex largely sends USDT to two other exchanges: Poloniex and Bittrex.113

For example, by February 2018 Bitfinex had sent Poloniex 2.99 billion USDT.114

       130. Griffin next determined that when bitcoin prices decreased, USDT was

issued and used to purchase bitcoin, but that this was not mirrored by redemptions

when bitcoin prices were increasing.115 He concluded that this indicated USDT was

used to fend off downturns in bitcoin prices rather than benign market making

activities.

       131. In other words, Tether and Bitfinex buy bitcoin with USDT when prices

drop to keep the price artificially high.

       132. Griffin next analyzed Tether issuances between March 1, 2017 to

March 31, 2018 to test how strongly these issuances correlated with bitcoin price

increases.116 He found that the timing of these issuances strongly correlated with half

of all bitcoin price increases that year.

       133. Griffin concluded his findings were “most consistent with the supply-

driven manipulation hypothesis” that Tether was pushing USDT into the market.117



       113
             Id. at 16.
       114
             Id. at 17.
       115
             Id. at 20.
       116
             Id. at 23.
       117
             Id. at 26.


                                            40
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          134. As Griffin explained in an interview with Bloomberg:

                    First, [USDT] are created by the parent company Tether Ltd.,
                    often in large chunks such as 200 million. Almost all new coins
                    then move to Bitfinex. When Bitcoin prices drop soon after the
                    issuance, [USDT] at Bitfinex and other exchanges are used to
                    buy Bitcoin in a coordinated way that drives the price.118

          135. The chart below depicts this correlation between USDT issuances and

bitcoin price increases:

                           Bitcoin Price and Tether Issuance 2016 - 2019
 25000                                                                            250000000

 20000                                                                            200000000

 15000                                                                            150000000

 10000                                                                            100000000

  5000                                                                            50000000

     0                                                                            0
          27-Nov-16
           28-Dec-16
           28-Jan-17
           28-Feb-17




            2-Sep-17

            3-Nov-17
            4-Dec-17
             4-Jan-18
            4-Feb-18




            9-Sep-18

          10-Nov-18
           11-Dec-18
           11-Jan-19
           11-Feb-19
           27-Oct-16




          31-Mar-17
           1-May-17
             1-Jun-17
              2-Jul-17
            2-Aug-17

             3-Oct-17




            7-Mar-18
            7-Apr-18
           8-May-18
             8-Jun-18
              9-Jul-18
            9-Aug-18

           10-Oct-18




          14-Mar-19
           14-Apr-19
          15-May-19
           15-Jun-19
            16-Jul-19
  -5000                                                                           -50000000

 -10000                                                                           -1E+08

                                          Tether Issuance    Price of Bitcoin



          136. Griffin also observed evidence consistent with the use of “round-

number thresholds” as “price anchors to set a price floor” in order “to stabilize and

drive up the price” of bitcoin. The premise of a price anchor is that “if investors can

demonstrate a price floor, then they can induce other traders to purchase.”119


          118
          Exhibit 31, Matt Robinson & Matthew Leising, Tether Used to Manipulate Price of
Bitcoin During 2017 Peak: New Study, BLOOMBERG (June 13, 2018), https://perma.cc/5KXS-
RMT5.
          119
                Exhibit 30 at 5 (Griffin Article).


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                  ii.   Other studies corroborate the Griffin Article’s conclusions

      137. A few months prior to the publication of the Griffin Article, a report

with the title “Quantifying the Effect of Tether” (the “Tether Report”) was published

online.120 Similar to Griffin’s analysis, the Tether Report concluded that “Tether

printing moves the market appreciably; 48.8% of BTC’s price rise in the period

studied occurred in the two-hour periods following the arrival of 91 different Tether

grants to the Bitfinex wallet.” The report warned that the “Bitfinex

withdrawal/deposit statistics are unusual and would give rise to further scrutiny in a

typical accounting environment.”121

      138. In its analysis of bitcoin price data and USDT transactions, the report

found that:

                   The price data suggests that Tether may not be minted
                   independently of Bitcoin price and may be created when Bitcoin
                   is falling; it also rejects the notion that Tether is not having a great
                   influence on the Bitcoin price. One interpretation of the data
                   suggests that Tether could account for nearly half of Bitcoin’s
                   price rise, not even allowing for follow-on effects and the
                   psychological effects of rallying the market repeatedly. The
                   transaction data could trigger extreme scrutiny and audits due to
                   a questionable pattern of transactions.122




      120
            Exhibit 32 (the “Tether Report”), https://perma.cc/6RV2-KLYR.
      121
            Id.
      122
            Id.


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          139. On October 3, 2019, TokenAnalyst, a cryptocurrency researching

company “on a mission to bring transparency to the decentralized economy,” 123

similarly concluded that Tether’s issuance of USDT correlated with upward bitcoin

price movement.124

          140. TokenAnalyst analyzed the “relationship between $BTC price and

$USDT supply over the course of history” and determined that “on days where

#USDT ERC20 is minted, 70.0% of the time the price of BTC moves up” and “on

days where #USDT Omni is minted, 50.0% of the time the price of BTC moves

up.”125

          141. In July of 2018, Dr. Gerard Martinez reviewed the Griffin Article.126

After walking through the relevant evidence, Dr. Martinez concluded that the

“statistics support the theory that Tether Limited and Bitfinex corporations used

Tether to buy Bitcoin in key occasions during the meteoric rise of Bitcoin prices of

2017 and beginnings of 2018”; that “[t]hese corporations would print Tether right


          123
                TOKENANALYST.IO,   https://perma.cc/QS5K-5CWP.
          124
          Exhibit 33, Olga Kharif, Bitcoin Gains Correlate with Tether Issuance, Researcher
Says, BLOOMBERG (Oct. 3, 2019), https://perma.cc/CWU4-ZXHP.
          125
         @theokenanalyst, Twitter (Oct. 3, 2019), https://perma.cc/4T66-6LH7. Tether issues
USDT by notating its issuance on either the Omni layer of the Bitcoin blockchain or on the
Ethereum blockchain as an ERC20 token.
          126
            Dr. Gerard Martinez, MEDIUM (July 12, 2018), https://perma.cc/4QW2-FJPQ (“The
ideas and analysis methods of this article are not new, they are all taken from or inspired by the
recently published paper “Is Bitcoin Really Un-Tethered?” by John M. Griffin et al. and the so-
called Tether Report. However, the results shown here are probably the currently most updated on
the internet and, hopefully, a bit easier to understand than the cited publications.”)


                                                 43
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after transient Bitcoin price dips . . .”; that “Tether Ltd. would then buy Bitcoin with

the freshly minted Tether and would promote the creation of a fraudulent bullish

market, which would attract more investors to buy Bitcoin, contributing this way to

increase the bubble (momentum effect)”; and then as the penultimate “part of the

strategy . . . Tether Ltd. would send the freshly bought Bitcoin to their accounts in

Bitfinex.”127

               iii.   Further evidence of Bitfinex and Tether’s scheme

       142. These empirical conclusions are reinforced by other evidence

demonstrating that Bitfinex and Tether actively engaged in coordinated market

manipulation.

       143. For example, in April 2017, Potter publicly discussed Bitfinex’s plans

to create a “private market for the equity [shareholders] to trade among

themselves.”128 Bitfinex today “offer[s] an order type called ‘hidden,’ in which the

‘hidden’ order does not appear on the publicly visible order book.”129 These are

precisely the sort of “opaque channel” hypothesized by Griffin as a mechanism for

selling off bitcoin without crashing the price.



       127
             Id.
       128
            WhalePool, CSO Bitfinex Phil Potter and WhalePool bitcoin traders celebrate BFX
Token 100% Payment apr/2017, YOUTUBE, at 10:10 (April 3, 2017),
https://archive.org/details/2017.04.03.whalepoolcsobitfinexphilpotter.
       129
           Virtual Markets Integrity Initiative Report, OFFICE OF THE N.Y. ATT’Y GEN. (Sep. 18,
2018), https://virtualmarkets.ag.ny.gov/. [https://perma.cc/7YS8-LS7S]


                                              44
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      144. This hidden market is entirely consistent with a report published by the

New York Attorney General finding that Bitfinex fosters an environment ripe for

abuse. Despite the fact that “[t]rading by platform employees poses a conflict of

interest,” Bitfinex does “not provide any restrictions on employee trading.”130

      145. Furthermore, in June 2014, one month after the “Willy Report” about

Mt. Gox was published, Devasini all but admitted that he was working on a “Willy

Bot” of his own to drive the price of bitcoin to $10,000:




                                                                                          131



      146. The ability to implement a trading bot like the Willy Bot is corroborated

by a report from the New York Attorney General finding that Bitfinex offers a

number of “special order types” that “are only useful to professional, automated

traders using sophisticated algorithmic strategies, where orders can be submitted and




      130
            Virtual Markets Integrity Initiative Report, https://virtualmarkets.ag.ny.gov/.
      131
            Re: And we have another Bitfinex Hookey THIEVING Short Squeeze!,
BITCOINTALK.ORG    (June 22, 2014), https://perma.cc/HW9Q-5JVA.


                                                 45
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cancelled automatically, in response to market signals not visible (or even available)

to regular traders.”132

        147. As described more below (see infra Part IV.G), Bitfinex and Tether’s

purported ability to issue hundreds of millions of USDT at the same time their

longtime banking relationships and U.S. correspondent account access were

terminated is equally alarming.

        148. Indeed, in the midst of this liquidity crisis, Devasini virtually admitted

to manipulating the price of bitcoin. In October 2018, Devasini wrote to a Crypto

Capital representative: “please understand all this could be extremely dangerous for

everybody, the entire crypto community . . . [bitcoin] could tank to below 1k if we don’t

act quickly.”133

        149. In other words, Tether ran its printing press to issue an asset supposedly

backed by U.S. dollars at a time it was losing access to U.S. dollar clearing. This

makes no sense unless Tether issued unbacked USDT despite its 1:1 guarantee.

        150. Further corroboration that USDT is being issued without any real

controls in place is demonstrated by the fact that on July 13, 2019, Tether



        132
             Virtual Markets Integrity Initiative Report, https://virtualmarkets.ag.ny.gov/. In
particular, Bitfinex offers “‘Fill-or-Kill,’ in which the order is canceled in its entirety if it does not
execute immediately and in full” and “Post-Only’ (also known as ‘Maker-or-Cancel’), in which
the order only posts to the order book if it would not fill an already-posted order.”
        133
            Exhibit 34, ECF No. 100, James v. iFinex, Inc. (N.Y. Sup. Ct. July 8, 2019) (chat
transcript between Devasini and New York trading client in late 2018 and early 2019).


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accidentally issued 5,000,000,000 USDT, and then revoked it in the span of just

twenty minutes. Chief Technical Officer Ardoino attributed this to “an issue with

the token decimals.”134

       151. On October 15, 2018, the market registered concern that Tether did not

have the full reserves it claimed. 135 A massive sell-off caused the price of USDT to

drop as low as $0.85.

       152. On November 20, 2018, Bloomberg reported that the DOJ’s criminal

probe was coordinating with the CFTC and that “among the issues the Justice

Department is examining is how Tether Ltd. creates new coins and why they enter

the market predominantly through Bitfinex.”136

       153. On November 27, 2018, the New York OAG subpoenaed Bitfinex and

Tether.137

       154. The DOJ’s criminal probe focused on Bitfinex and Tether to determine

if the 2017 cryptocurrency rally was “fueled in part by manipulation.”138


       134
             @paoloardoino, TWITTER (July 13, 2019), https://perma.cc/PQT8-RND7.
       135
         Exhibit 35, Andrea Tan, Eric Lam, & Benjamin Robertson, Crypto Markets Roiled as
Traders Question Tether’s Dollar Peg, Bloomberg (Oct. 15, 2018), https://perma.cc/VT5T-
LWJW.
       136
         Exhibit 36, Matt Robinson & Tom Schoenberg, Bitcoin-Rigging Criminal Probe
Focused on Tie to Tether, BLOOMBERG (Nov. 20, 2018), https://perma.cc/E28G-4MCM.
       137
          Exhibit 37, ECF No. 8, James v. iFinex, Inc. (N.Y. Sup. Ct. April 25, 2019) (Bitfinex
subpoena); Exhibit 38, ECF No. 10, James v. iFinex, Inc. (N.Y. Sup. Ct. April 25, 2019) (Tether
subpoena).
       138
          Exhibit 36, Bitcoin-Rigging Criminal Probe Focused on Tie to Tether, BLOOMBERG
(Nov. 20, 2018), https://perma.cc/E28G-4MCM.


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       155. The issuance of USDT for price manipulation appears to have

continued to the present day. The chart below depicts the strong correlation between

USDT issuance and an uptick in 2019 bitcoin prices.139




   G. How Bank Fraud and Money Laundering with Crypto Capital Made
      Price Manipulation of the Cryptocurrency Market Possible

Being in the bitcoin business is really about playing cat and mouse with the correspondent
 banks. The problem with becoming big . . . is that we can’t fly under the radar anymore.
                              —Philip Potter, Bitfinex CSO140

       156. As described below, access to the U.S. financial system was an essential

component of Defendants’ scheme. Indeed, the entire premise of Tether depends on


       139
           Exhibit 33, Bitcoin Gains Correlate with Tether, BLOOMBERG (Oct. 3, 2019),
https://perma.cc/CWU4-ZXHP.
       140
            WhalePool Interview: Bitfinex CSO Comments on Litigation Withdraw[a]l against
Wells Fargo apr/2017, YOUTUBE at 13:55 (April 12, 2017),
https://archive.org/details/2017.04.12whalepoolbitfinexcsocomments.


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its use of the U.S. financial system — i.e. U.S. dollar deposits — to back its

manufactured digital assets.

      157. To facilitate its access to U.S. dollars, Bitfinex and Tether partnered

with a Panamanian entity named Crypto Capital Corp.

      158. As conventional banks began shutting Tether and Bitfinex accounts

down for money laundering and other compliance issues, Tether and Bitfinex

became even more enmeshed with Crypto Capital and a complicated shell game of

money laundering.

      159. Inexplicably, in the face of this growing pressure, Tether kept its

printing presses hot. Indeed, it often issued large amounts of USDT right as it lost

access to U.S. dollar banking relationships.

      160. By early 2018, Crypto Capital was purportedly in control of over $1

billion of Bitfinex funds without a single written agreement having existed over their

four-year business partnership.141

      161. Much of the conduct described below is criminal. The crimes

committed by Tether, Bitfinex, Crypto Capital, and their executives include Bank

Fraud (18 U.S.C. § 1344), Money Laundering (18 U.S.C. § 1956); Monetary

Transactions Derived From Specified Unlawful Activities (18 U.S.C. § 1957),




      141
            Exhibit 2 ¶¶ 58–59 (Whitehurst Affirmation).


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Operating an Unlicensed Money Transmitting Business (18 U.S.C. 1960), and Wire

Fraud (18 U.S.C. § 1343).

       162. Indeed, Bitfinex and Tether executives publicly discussed violating

many of these laws in the past and expressed their intent to continue doing so in the

future.

              i.   Overview of U.S. correspondent banking

       163. To engage in U.S. dollar transactions, Bitfinex and Tether required

either (1) a U.S. bank account or (2) an account with a bank that maintains its own

“correspondent account” with a U.S. bank. In the second scenario, the correspondent

account serves as an intermediary and “clears” the U.S. dollar transaction.

       164. Money never actually “moves” in cross-border transactions. In order to

facilitate transfers in other currencies, banks maintain “correspondent accounts” at

foreign banks. “Typically, foreign banks are unable to maintain branch offices in the

United States and therefore maintain an account at a United States bank to effect

dollar transactions.”142

       165. To send a cross-border transaction in U.S. dollars, a series of bank

accounts are credited or debited accordingly. The graphic below depicts a typical

U.S. dollar transaction in which



       142
          Sigmoil Resources, N.V. v. Pan Ocean Oil Corp. (Nigeria), 234 A.D.2d 103, 104, 650
N.Y.S.2d 726, 727 (1st Dep’t 1996).


                                             50
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                    (1) Bitfinex instructs its bank to wire U.S. dollars to a
                        customer located in the United Kingdom;

                    (2) the Taiwanese bank debits Bitfinex’s account and
                        instructs its U.S. correspondent to process the
                        transaction;

                    (3) the U.K. correspondent is instructed to debit the
                        account of the Taiwanese correspondent and credit the
                        account of the U.K. bank;

                    (4) the U.K. bank is instructed to credit the customer’s
                        account;

                    (5) the U.K. customer gains access to the funds.




       166. Access to a U.S. correspondent account is essential to international

transactions in U.S. dollars.143

       167. For the correspondent bank, these transactions are riskier from an anti-

money laundering perspective because the originator and beneficiary are one step




       143
           See Correspondent banking, COMMITTEE ON PAYMENTS AND MARKET
INFRASTRUCTURES, BANK FOR INTERNATIONAL SETTLEMENTS, at 9 (July 2016) (“On a cross-
border level, however, correspondent banking is essential for customer payments and for the
access of banks themselves to foreign financial systems for services and products that may not be
available in the banks’ own jurisdictions.”), https://perma.cc/9Z92-KSU6.


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removed from the bank. Money launderers often capitalize on this disconnect by

using shell companies to obscure the true counterparties even more.”144

       168. This is hardly a secret. The FBI recently told Congress that the

“pervasive use of shell companies, front companies, nominees, or other means to

conceal the true beneficial owners of assets is a significant loophole in this country’s

anti-money laundering (AML) regime.”145

               ii.   U.S. correspondent banking is essential to Bitfinex and Tether

       169. Because Bitfinex and Tether needed to accept U.S dollars, convert

illicit gains into U.S. dollars, as well as honor customer withdrawal requests for U.S.

dollars, access to U.S. correspondent banking was critical to the Defendants’

manipulation scheme.

       170. In fact, as of April 2017, Bitfinex and Tether told a U.S. federal court

that U.S. dollar transactions were the only types of transactions they engaged in with

customers: “Bitfinex can receive or remit only U.S. dollars for customers’ purchase

of Virtual Currency” and that “Tether can receive or remit only U.S. dollars for

customers’ purchases.”146



       144
         Exhibit 39, Alexander Weber, et al., Money to Launder? Here’s How (Hint: Find a
Bank), BLOOMBERG (Mar. 9, 2019), https://perma.cc/DXP4-FHXX.
       145
          Statement of Acting Deputy Asst. Director, CID, FBI to Senate Committee on
Banking, Housing, and Urban Affairs, Combating Illicit Financing by Anonymous Shell
Companies (May 21, 2019), https://perma.cc/P2W9-URMT.
       146
             Exhibit 19 ¶¶ 17–18 (Wells Fargo Complaint).


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       171. The Bitfinex and Tether Defendants made these statements in a lawsuit

they filed against Wells Fargo when it terminated its correspondent banking services.

       172. Statements made by Bitfinex and Tether in that lawsuit underscore just

how essential U.S. correspondent access was to their operations and how losing it

should have stopped their ability to operate and issue USDT. Specifically, they stated

that Wells Fargo’s “decision to suspend outgoing wire transfers in U.S. dollars from

plaintiffs’ correspondent accounts presented an existential threat to their

businesses,” and that if they “could not remit to customers U.S. dollars that belong

to their customers, [their] businesses would be crippled” and “brought to a

standstill.”147

       173. On or around November 28, 2017, Phil Potter opened new business

accounts for DigFinex and iFinex at the New York Branch of Metropolitan

Commercial Bank.148 On December 20, 2017, Potter opened another new account at

the New York Branch of Metropolitan Bank on behalf of Tether Holdings Limited.149

On or around February 16, 2018, Potter opened more new accounts at the New York

branch of Signature Bank on behalf of DigFinex and iFinex.150



       147
             Id. ¶ 47.
       148
         Exhibit 40, ECF No. 94, James v. iFinex (N.Y. Sup. Ct. July 8, 2019) (Dec. 2017
Bank Account Application).
       149
             Id.
       150
             Exhibit 13 (Feb. 2018 Bank Account Application).


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        174. These accounts demonstrate Bitfinex and Tether’s dependency on the

U.S. banking system and on New York banks in particular.

        175. But as explained below, these specific accounts were not viable for the

Defendants’ general operations. This was either because the banks could not provide

the necessary correspondent banking services, or perhaps because a history of

account closures had caused Bitfinex and Tether to no longer even attempt to operate

their business openly through regulated banks for fear the accounts would be shut

down.

                iii.   Bitfinex and Tether’s cat and mouse games

        176. Early on, Bitfinex and Tether utilized Taiwanese banks that maintained

U.S. correspondent accounts at Wells Fargo.151

        177. On March 31, 2017, Wells Fargo stopped providing correspondent

banking services for Bitfinex and Tether.152

        178. Two weeks after being cut off by Wells Fargo, on April 12, 2017, Potter

told the cryptocurrency trading community WhalePool that “it was getting harder

and harder to move money around.”153




        151
              Exhibit 19 ¶¶ 31–33 (Wells Fargo Complaint).
        152
              Id. ¶¶ 40-41.
        153
            WhalePool Interview: Bitfinex CSO Comments on Litigation Withdraw[a]l against
Wells Fargo apr/2017, YOUTUBE at 6:40 (April 12, 2017),
https://archive.org/details/2017.04.12whalepoolbitfinexcsocomments.


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      179. Potter went on to explain that everybody banking offshore is “in some

sort of don’t ask don’t tell relationship with their banks,”154 and that U.S. banks were

exiting the dollar clearing business because many “banks have been held

accountable for their actions as correspondents in a lot of other money laundering

and criminal cases” and that “money laundering is their biggest concern.”155

      180. Potter clarified, though, that “the problem here [wa]s not really Wells

Fargo. It is the system.”156 He then described Bitfinex’s past efforts to evade the

“system” of money laundering laws banks are required to comply with, and

expressed Bitfinex’s commitment to evading them in the future:

                There are other correspondent banks that won’t do business with
                us, Wells Fargo just happens to be the last one available to us
                with our banks in Taiwan. . .157

                We have a lot of other tricks. Being in the bitcoin business is
                really about playing cat and mouse with the correspondent banks.
                It’s always been that. The problem with becoming big, and also
                we have massive balances at the banks, is that [Bitfinex] can’t
                fly under the radar anymore. . . .

                Right now in Taiwan there is a moratorium . . . on banks opening
                up new offshore accounts. That’s an example. Even if we wanted
                to register some new corporate entities, move some money
                around, things that we would normally do, all that is slowed
                down right now. 158

      154
            Id. at 30:30.
      155
            Id. at 9:20.
      156
            Id. at 11:00.
      157
            Id. at 11:15.
      158
            Id. at 13:55.


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       181. In another discussion from the same time period, Potter said:

                We’ve had banking hiccups in the past, we’ve just always been
                able to route around it or deal with it, open up new accounts, or
                what have you… shift to a new corporate entity, lots of cat and
                mouse tricks that everyone in Bitcoin industry has to avail
                themselves of.159

       182. One way the Defendants attempted to conceal from banks and

regulators the true risk profile of their transactions was by using a Hong Kong

company they had incorporated, Renrenbee Limited, to create the illusion of

compliance with anti-money laundering laws.

       183. But Renrenbee Limited was initially incorporated as Bitfinex Limited

in March 2013.160 At that time, Velde was listed as a director, and Devasini became

a director by December 2013.

       184. But in April 2014, Bitfinex Limited was renamed Renrenbee Limited

and registered as a Money Services Operator (MSO) in Hong Kong in order to

reassure Bitfinex customers without revealing to banks that Bitfinex was the true

counterparty. 161




       159
           Bitfinex Tether Phil Potter 'Solved' Banking Problems with illegal money laundering
tactics, YOUTUBE (April 24, 2017), https://archive.org/details/2017.04.24bitfinextetherphilpotter.
       160
             Exhibit 41 (Hong Kong Registry-Renrenbee Limited), https://perma.cc/4CUU-JY72.
       161
         Re: [OFFICIAL]Bitfinex.com first Bitcoin P2P lending platform for leverage trading,
BITCOINTALK.ORG (Nov.   10, 2014) (Devasini instructing customer inquiring about to “look for
Renrenbee Limited” in the registry), https://perma.cc/TV5D-RRW3.


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       185. By January 2016, the Defendants had even established a separate

website for Renrenbee Limited to reinforce their sham that it was an independent

entity.162

       186. This deception continued when the Tether White Paper was published

in June 2016 where Tether falsely represented that it “was concluding a principal-

agency agreement with RenRenBee Limited” whereby Renrenbee would “provide

anti-money laundering compliance work and customer due diligence procedures as

agent for Tether as principal.”163

       187. Bitfinex also falsely held Renrenbee Limited out as an independent

provider of compliance services. Even though Renrenbee Limited no longer exists,

to this day the Know-Your-Customer (KYC) form on Bitfinex’s website represents

that “KYC/AML collection and processing is handled for Bitfinex by the appointed

money service operator Renrenbee Ltd.”164

       188. The sham nature of Renrenbee’s compliance function is further

corroborated by the fact that Bitfinex and Tether do not observe standard KYC and

AML practices. According to the New York Attorney General, unlike most

exchanges, Bitfinex does not “require customers to submit a range of personal



       162
             RENRENBEE.COM    (Jan. 15, 2016), https://perma.cc/7YJS-PP7E.
       163
             Exhibit 10 at 18 (Tether White Paper).
       164
             Exhibit 42 (Bitfinex KYC Form), https://perma.cc/TDM3-UXFR.


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identifying information and government-issued identification before allowing new

customers to trade” and only requires “little more than an email address to begin

trading virtual currencies.”165

       189. To further facilitate their cat and mouse games, Bitfinex and Tether

regularly open and use bank accounts in the name of shell companies to conceal their

connection to transactions.

       190. On or around January 26, 2018, Bitfinex began instructing customers

to deposit funds in an account held in the name of a different company, Haparc B.V.,

at a different bank, ING Groep NV in the Netherlands.166 ING closed this account

one month later after Bloomberg reported its existence.167

       191. In October 2018, Bitfinex began using a Hong Kong bank account held

in the name of a company called “Prosperity Revenue Merchandising Limited” to

engage in U.S. dollar transactions routed through a U.S. correspondent account at

Citibank.168




       165
             Virtual Markets Integrity Initiative Report, https://virtualmarkets.ag.ny.gov/.
       166
           Robert-Jan den Haan, The Bitfinex IEO, how did we get here?, THEBLOCK (May 8,
2019), https://perma.cc/F493-P375.
       167
           Exhibit 43, Ruben Munsterman & Matthew Leising, Digital Exchange Bitfinex, Under
U.S. Scrutiny, Gets ING Account, BLOOMBERG (Feb. 20, 2018), https://perma.cc/4RHP-X4RF.
       168
           Bitfinex appears to have moved its business to a Hong Kong bank, THE BLOCK (Oct.
16, 2018), https://perma.cc/HJX7-76BH.


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               iv.       Bitfinex and Tether’s dependence on Crypto Capital to further
                         obfuscate, avoid money laundering laws, and continue operating

       192. Bitfinex and Tether have worked with Defendant Crypto Capital Corp.

as a “third party payment processor” since 2014 without any contract or written

agreement.169

       193. Despite the lack of any documented agreement, “by 2018 Bitfinex had

placed over one billion dollars of co-mingled customer and corporate funds with

Crypto Capital.”170

       194. Evidence from the end of 2017 through 2018 reveals Bitfinex and

Tether’s questionable banking practices and its desperate need to access the U.S.

banking system.

       195. On December 5, 2017, Bloomberg published a story about Tether’s

refusal to disclose the location of its cash reserves without a non-disclosure

agreement in place.171 This same article reported that online documents showed

Bitfinex was directing prospective customers to deposit funds in an account that



       169
           Exhibit 2 ¶¶ 58–59 (Whitehurst Affirmation). The defendants’ counsel also explained
to the OAG that “Bitfinex and Tether have also used a number of other third party "payment
processors" to handle client withdrawal requests, including various companies owned by
Bitfinex/Tether executives, as well as other ‘friends’ of Bitfinex — meaning human being
friends of Bitfinex employees that were willing to use their bank accounts to transfer money to
Bitfinex clients who had requested withdrawals.” Id. ¶ 60.
       170
             Id. ¶ 58.
       171
          Exhibit 44, Matthew Lesing, There’s an $814 Million Mystery Near the Heart of the
Biggest Bitcoin Exchange, BLOOMBERG (Dec. 5, 2017), https://perma.cc/K5W2-C68C.


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belonged to a different company, Crypto SP. Z.O.O., at Spoldzielczy Bank in

Poland.172

       196. On March 28, 2018, the United States indicted several individuals

connected to Backpage.com on multiple counts of money laundering and

prostitution.173 This indictment specifically identified Crypto Capital as one of the

companies the Backpage defendants utilized to launder their money.174

       197. A week later, on April 6, 2018, Polish law enforcement seized $375

million USD worth of zloty from accounts held by Crypto SP. Z.O.O (the Bitfinex

shadow account), Neso SP. Z.O.O., and ITRAN SP. Z.O.O.175 These companies are

shell companies controlled by Crypto Capital.




       172
         See also Bitfinex Reveals a New Polish Bank Account Under a Panama Registered
Company, TRUSTNODES (Nov. 22, 2017), https://perma.cc/AEJ6-VEGA.
       173
           Exhibit 45, Indictment, ECF No. 1, United States v. Lacey, No. 18-CR-422 (D. Ariz.
Mar. 28, 2018). Backpage was a website that had become the largest marketplace for buying and
selling sex before being shut down in April 2018.
       174
             Id. ¶ 155.
       175
           Robert-Jan den Haan, The Bitfinex IEO, how did we get here?, THEBLOCK (May 8,
2019), https://perma.cc/F493-P375.
        Until April 2016, ITRAN had been named Global Transaction Services. See Exhibit 46,
Indictment, ECF No. 1, Barrs v. United States, No. 16-cr-161 (N.D. Ga. May 10, 2016),
(indictment of operator of Global Transaction Services for money laundering violations).


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       198. Polish law enforcement found these companies “did not actually carry

out any economic activity” but “were created solely to make their bank accounts

available for international criminal financial operations.”176

       199. These seizures affected Bitfinex’s ability to honor withdrawal requests

and, throughout 2018, Devasini “repeatedly beseeched an individual at Crypto

Capital (“Oz”) to return Bitfinex’s funds.”177

       200. About one month later, on May 16, 2018, the United States District

Court for the District of Arizona entered a forfeiture order over funds held in a

Crypto Capital account.178

       201. With nowhere else to turn, and even though it had begged Crypto

Capital to release funds for months, Bitfinex was still directing customers to Crypto

Capital into early October 2018.179

       202. For example, on October 5, 2018, in an exchange with a Bitfinex

customer seeking to withdraw fiat, Devasini wrote “if you are interested in a faster




       176
           Rafal Pasztelanski, Kolumbijskie kartele prały setki milionów przez spółki z
Pruszkowa i okolic, TVP.INFO (June 4, 2018), https://perma.cc/449Z-66NM,
https://perma.cc/9TFY-CB7H (Google Translation).
       177
             Exhibit 2 ¶ 62 (Whitehurst Affirmation).
       178
         Exhibit 47, Prelim. Order of Forfeiture at 3, ECF No. 22, United States v.
Backpage.com, No. 2:18-CR-00465 (D. Ariz. May 16, 2018).
       179
           Mike Dudas, Bitfinex appears to be banking with HSBC, THE BLOCK (Oct. 6, 2018),
https://perma.cc/2FSQ-3KB4. This account was maintained at HSBC in New York in the name
of Global Trading Solutions, LLC, one of Crypto Capital’s shell companies.


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solution, please consider www.cryptocapital.co.”180 A minute later, he wrote “with

Cryptocapital moving fiat is a matter of minutes, not days[.] [W]e send and receive

in real time, USD, EUR, JPY.”

       203. When the customer pointed out that EUR deposits were suspended on

Bitfinex’s website, Devasini responded “as I said if you open an account with

Cryptocapital we can flow EUR without problem.181

       204.        Devasini’s assurances to customers helped conceal the reality that

Bitfinex’s banking relationship with Crypto Capital was in chaos.

       205. On October 15, 2018, Devasini, going by the name “Merlin,” had the

following exchange with a representative from Crypto Capital, going by the handle

CCC:

                   Merlin
                   Hey Oz, sorry to bother you every day, is there any way to move at
                   least 100M to [redacted]? We are seeing massive withdrawals and
                   we are not able to face them anymore unless we can transfer some
                   money out of Cryptocapital.
                   Merlin
                   I understand some of the funds are being held by [text hidden], but
                   what about the rest?
                   Merlin
                   under normal circumstances I wouldn't bother you (I never did so
                   far) but this is a quite special situation and I need your help, thanks
                   Merlin
                   I have been telling you since a while
                   Merlin
       180
           Exhibit 34 (chat transcript between Devasini and New York trading client in late 2018
and early 2019).
       181
             Id.


                                                 62
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                too many withdrawals waiting for a long time
                Merlin
                is there any way we can get money from you? Tether or any other
                form? Apart with cryptocapital we are running low in cash reserves
                Merlin
                please help
                CCC
                I know. We are following the banks we post as many as we can and
                let them process as much as possible according to them. Everytime
                we push them they push back with account closure without reason
                Merlin
                dozens of people are now waiting for a withdrawal out of
                cryptocapital
                Merlin
                I need to provide customers with precise answer at this point, can't
                just kick the can a little more
                Merlin
                the international I mean
                CCC
                I will keep you posted here
                CCC
                On the process of all international payments.
                Merlin
                please understand all this could be extremely dangerous for
                everybody, the entire crypto community
                Merlin
                BTC could tank to below 1k if we don't act quickly182

      206. A month later, on November 21, 2018, Merlin again desperately

pleaded with the Crypto Capital representative, noting that “it’s always difficult to

tell our customers something real”:

                Merlin
                please update me about the situation, we have serious problems if
                we don't get some funds from you with this week
                Merlin

      182
            Exhibit 2 ¶¶ 63–67 (Whitehurst Affirmation).


                                               63
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                   I wish we had some clarity, it's always very difficult to tell our
                   customers something real and this fuels the uncertainty183

       207. Evidence collected in the New York AG’s investigation into Bitfinex

and Tether indicates that “Merlin” is most likely Devasini.184

       208. In other words, Bitfinex and Tether were so desperate to access the U.S

financial system and U.S. dollars that they were directing funds to Crypto Capital

despite its clear connection to money laundering, account seizures, and an inability

to move funds out.

       209. Defendant Fowler was at the center of Crypto Capital’s operations

during this time. Fowler set up the shell companies and bank accounts that Bitfinex

and Tether depended on.

       210. According to the United States Attorney for the Southern District of

New York, Defendant Fowler was involved “in a scheme to operate a shadow bank

on behalf of cryptocurrency exchanges in which hundreds of millions of dollars

passed through accounts controlled by [him] in jurisdictions around the world.”185

As described below, these exchanges included Bitfinex.




       183
             Id.
       184
          Exhibit 48, ECF No. 86, James v. iFinex (N.Y. Sup. Ct. Jan. 24, 2018) (email from
Devasini stating his skype account name is “Merlinmagoo” and his telegram account is
“@Merlinthewizard.”).
       185
             Exhibit 14 at 1 (Fowler Memorandum) (emphasis added).


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       211. Interviews conducted in the course of the Department of Justice’s

investigation “corroborated in part” public reporting that Crypto Capital and other

companies associated with Fowler “ha[d] failed to return $851 million” to

Bitfinex.186

       212. As alleged by the New York Attorney General, “the lack of access to

money held by Crypto Capital” — at least in part because of the seizure of various

accounts by law enforcement — “made it impossible for Bitfinex to honor its

client[s’] withdrawal requests.”187

       213. Virtually all of the “cat and mouse” banking tactics described above

constitute serious federal crimes.

       214. Bitfinex and Tether’s inability to honor withdrawal requests in the wake

of account seizures by law enforcement make clear that their illegal activity was

inseparable from their business operations.

                v.       USDT issuances cannot be reconciled with Tether’s economic
                         reality

       215. Bitfinex and Tether’s banking troubles should have been a constraint

on their ability to issue or redeem USDT — either because they lost part of their 1:1

reserves, or because they were constrained in their ability to receive additional cash

to back up the USDT they were about to issue.


       186
             Id. at 3.
       187
             Exhibit 2 ¶ 63 (Whitehurst Affirmation).


                                                65
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       216. Instead, moments of crisis often coincide with Tether issuing massive

amounts of new USDT.

       217. On March 31, 2017, Wells Fargo terminated its relationship with

Bitfinex and Tether.188 A couple weeks later, on April 17, 2017, Bitfinex and Tether

lost their last direct banking relationship in Taiwan and stopped accepting

deposits.189 The very next day, Tether issued 10 million USDT.190

       218. On April 22, 2017, Tether issued a statement that “all incoming

international wires to Tether have been blocked and refused by our Taiwanese banks.

As such, we do not expect the supply of tethers to increase substantially until these

constraints have been lifted.”191

       219. Tether’s next publicly reported banking relationship was its opening of

an account at Noble Bank International in Puerto Rico five months later.192




       188
             Ex. 19 ¶ 40 (Wells Fargo Complaint).
       189
             Pausing Wire Deposits         to   Bitfinex,   BITFINEX.COM   (April   17,   2017),
https://perma.cc/C3QP-494X.
       190
             omniexplorer.info (April 18, 2017), https://perma.cc/MF7J-KSLL.
       191
             Announcement, TETHER.TO (April 22, 2017), https://perma.cc/AW3W-TJZK.
       192
           In September 2017, Tether opened an account with Noble Bank International in Puerto
Rico. Exhibit 2 ¶53 (Whitehurst Affirmation). Brock Pierce, the original founder of Tether, also
founded Noble Bank International, which had only recently launched on May 11, 2017.
@brockpierce, TWITTER (Aug. 4, 2018) (“Tether was my idea. Haven’t had any involvement or
ownership since the early days. I also started Noble Bank and again haven’t had any involvement
since the early days.”), https://perma.cc/C27P-KUWM; @noblebankint, Noble Bank
International: The Next-Generation Bank Designed for FX & OTC Post-Trade Services,
MEDIUM (May 11, 2017), https://perma.cc/J5KQ-W2DU.


                                                66
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      220. During these five months when Tether lost access to mainstream

banking, it issued 390 million USDT. Tether’s ability to accrue this much money

under these circumstances is questionable, but the number becomes inexplicable

when you consider that for the first 2.5 years of Tether’s existence (October 2014

through March 2017) it issued less than 55 million USDT in total.193

      221. In other words, losing access to U.S. dollar clearing marked the

beginning of a five-month period when Tether issued seven times more USDT than

it had the prior two and a half years combined.

      222. In absolute numbers, total outstanding USDT had gone from

approximately $60 million while Tether had access to the Wells Fargo correspondent

account, to approximately $450 million after losing it.

      223. Tether was becoming untethered, and it would only get worse.

      224. From October 28, 2017 to December 20, 2017, Tether issued another

805,048,400 USDT.194 This brought the total amount of all outstanding USDT, and

hence Tether’s supposed cash reserves, to over $1,250,000,000.195 Suspiciously,




      193
            Tether Supply, BLOCKSPUR, https://blockspur.com/tether/trends/supply.
      194
            Id.
      195
            https://coinmarketcap.com/currencies/tether/


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Tether refused to disclose the location of its massive cash reserves without a

nondisclosure agreement in place.196

       225. Despite the apparently unprecedented demand for USDT, Bitfinex and

Tether closed new account registrations on December 21, 2017, stating that they

would not re-open until January 15, 2018.197

       226. In the short span of less than one month after Bitfinex and Tether closed

the door to potential new market entrants (December 28, 2017 through January 23,

2018), Tether issued more than 1 billion new USDT,198 all of which was supposed

to be backed by U.S. dollars in bank accounts that Tether refused to disclose or

audit.199

       227. This rapid series of large issuances came to an abrupt stop on January

24, 2018. This coincidentally was the same day that the Tether Report was published




       196
           Exhibit 44, There’s an $814 Million Mystery, BLOOMBERG (Dec. 5, 2017),
https://perma.cc/K5W2-C68C.
       197
        Bitfinex and Tether Close New Accounts Registration, No Longer Accept New Users,
TRUSTNODES (Dec. 21, 2017), https://perma.cc/UCQ2-BSVB.
       198
            OMNIEXPLORER.INFO, https://perma.cc/YPC4-LTJ9; OMNIEXPLORER.INFO,
https://perma.cc/9JRW-76ND; ETHERSCAN.IO,
https://etherscan.io/token/0xdac17f958d2ee523a2206206994597c13d831ec7?a=0xc6cde7c39eb2
f0f0095f41570af89efc2c1ea828.
       199
           Exhibit 44, There’s an $814 Million Mystery, BLOOMBERG (Dec. 5, 2017),
https://perma.cc/K5W2-C68C.


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online. The Tether Report identified links between the issuance of USDT and bitcoin

price increases.200

       228. Strangely though, issuances resumed even as Crypto Capital’s accounts

began to be targeted by law enforcement around the world (in March, April, May

and October of 2018). On March 20, 2018, Tether issued another 300 million USDT,

bringing the total value of all outstanding USDT to over $2,520,000,000. 201 Tether

issued another 250 million USDT on May 18, 2018.202

       229. USDT issuances eventually show some sensitivity to public suspicion

about the legitimacy of Tether and Bitfinex. In the mid-2018, Bitfinex’s worsening

liquidity crisis and the growing evidence that Bitfinex and Tether manipulated the

price of bitcoin resulted in mounting pressure for Bitfinex and Tether to prove their

legitimacy.

       230. On June 25, 2018, two weeks after the Griffin paper was published,

Tether issued 250 million USDT.203 A Bloomberg reporter was subsequently shown

bank statements indicating that on July 6, 20, and 24, Tether sent Bitfinex a total of




       200
          On January 30, 2018, Bloomberg published a story revealing the December 6, 2018
subpoena from the CFTC. Exhibit 49, Matthew Leising, U.S. Regulators Subpoena Crypto
Exchange Bitfinex, Tether, BLOOMBERG (Jan. 30, 2018), https://perma.cc/8EFM-944U.
       201
             OMNIEXPLORER.INFO,   https://perma.cc/2757-LDCD; Tether Supply, blockspur.com,
https://perma.cc/CGZ8-WAMQ.
       202
             OMNIEXPLORER.INFO,   https://perma.cc/2757-LDCD.
       203
             Id.


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$250 million U.S. dollars and Bitfinex sent 250 million USDT back to the Tether

Treasury. 204 This was held out as evidence that Tether’s cash reserves were genuine

and just so happened to be undertaken right after some of the strongest proof that

Tether was issuing unbacked USDT to manipulate the price of bitcoin.

       231. On October 15, 2018, as Bitfinex’s inability to honor withdrawals

became apparent to the market, a massive sell-off caused the price of USDT to drop

as low as $0.85.205

       232. On October 23, 2018, the Department of Justice publicly seized Crypto

Capital funds in three U.S. accounts held by Reginald Fowler and/or Global Trading

Solutions LLC at HSBC.206

       233. The next day, Tether “revoked” 500 million USDT from the Tether

Treasury, taking it out of circulation and relieving them of an obligation to have

$500,000,000 on hand to back that USDT.207



       204
           Exhibit 50, Matthew Leising, Crypto-Mystery Clues Suggest Tether Has The Billions It
Promised, BLOOMBERG (Dec. 18, 2018), https://perma.cc/7P5E-6BWB; OMNIEXPLORER.INFO,
https://perma.cc/3UJM-7GKT. While Tether removed the USDT from circulation it did not
“destroy” it as it had promised to do with any redemptions for fiat. See Exhibit 10 at 8 (Tether
White Paper) (“Step 5 - Tether Limited destroys the tethers and sends fiat currency to the user’s
bank account.”).
       205
             Exhibit 35, Crypto Markets, BLOOMBERG (Oct. 15, 2018), https://perma.cc/VT5T-
LWJW.
       206
           Exhibit 15 ¶ 7 (Fowler Indictment). The government also seized funds in two
additional accounts with HSBC on November 16, 2018.
       207

https://omniexplorer.info/tx/76cc7c991e61749d7f4bf6cc7fec63c2d0286c891e386d9c96b66aa93
9683859; Upcoming USDT Redemption – Oct. 24, 2018, TETHER.TO (Oct. 24, 2018),

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       234. Tether revoked these 500 million USDT because its dollar reserves

were increasingly being called into question and it needed to allay concern by

offering proof that it had enough reserves to back all outstanding USDT. Since

Tether didn’t have this much in reserve, it solved this problem by removing 500

million USDT from circulation to reduce its cash reserve requirements to match what

it could show on a bank statement.

       235. One week later, on November 1, 2018, Tether published a letter

purportedly from Deltec Bank — with no identifiable signatory — representing that

the “portfolio cash value” of Tether’s account was $1,831,322,828,208 which, if true,

was sufficient to cover the now-reduced total amount in circulation.

       236. Deltec is located in the Bahamas, a jurisdiction with strategic

deficiencies in anti-money laundering controls.209 In fact, just four days after Tether

announced its relationship with Deltec Bank, there were public reports on steps “to

seize assets held in bank accounts with Deltec Bank & Trust and Ansbacher




https://web.archive.org/web/20181024170928/https://tether.to/upcoming-usdt-redemption-
october-24th-2018/.
       208
             Exhibit 51, Tether Letter, TETHER.TO (Nov. 1, 2018), https://perma.cc/974F-3YTV.
       209
           FIN-2019-A001, Advisory on the Financial Action Task Force-Identified Jurisdictions
with Anti-Money Laundering and Combatting the Financing of Terrorism Deficiencies, FINCEN
(Mar. 8, 2019), https://perma.cc/S4TN-X8DM.


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(Bahamas) as part of a crackdown on corruption linked to the Nicolas Maduro-led

regime.”210

   H. NYAG Investigation

      237. On April 25, 2019, the Office of the New York Attorney General filed

an ex parte application pursuant to the Martin Act and obtained an order requiring

Bitfinex and Tether to produce certain documents and a preliminary injunction

enjoining them “from taking any further action to access, loan, extend credit,

encumber, pledge, or make any other similar transfer or claim between Bitfinex and

Tether in order to preserve the status quo and protect the interests of New York tether

holders and Bitfinex clients.”211

      238.      The filings alleged that the Bitfinex trading platform allowed New

Yorkers to purchase and trade virtual currencies” and “explain[ed] how Bitfinex no

longer has access to over $850 million dollars of co-mingled client and corporate




      210
           Neil Hartnell, Bahamas Bank Accounts Targeted For US Seizure, THE TRIBUNE (Nov.
5, 2018), https://perma.cc/CT26-9KQP; see also Daniel Bethencourt, New Jersey Bank Handled
$20 Million for Firm Tied to Venezuelan Laundering Scheme, MONEYLAUNDERING.COM (July
24, 2019) (“Another large transfer—the $5 million wire from Deltec Bank & Trust Limited in
the Bahamas that prosecutors referenced in their July 2018 complaint against Gustavo
Hernandez— arrived at City National on Feb. 28, 2017, internal records show.”),
https://perma.cc/DUK5-DGLJ.
      211
            Exhibit 2 ¶¶ 96–97 (Whitehurst Affirmation).


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funds that it handed over without any written contract or assurance, to a Panamanian

entity called ‘Crypto Capital Corp.’”212

      239. The filings also stated that even though Tether knew Crypto Capital

funds were inaccessible, in

             November 2018, Tether transferred $625 million held in its
             account at Deltec to Bitfinex's account at Deltec. Bitfinex, in
             turn, caused a total of $625 million to be transferred from
             Bitfinex's account at Crypto Capital to Tether's account at Crypto
             Capital, through a ledger entry at Crypto Capital crediting
             Tether's account in the amount of $625 million and debiting
             Bitfinex’s account by a corresponding amount. The purpose of
             this exchange was to allow Bitfinex to address liquidity issues
             unrelated to tethers.

Exhibit 2 ¶ 85 (Whitehurst Affirmation). Then, in March 2019, the Defendants

             purportedly reversed the $625 million ‘transfer’ from Bitfinex’s
             to Tether’s Crypto Capital account. That reversal was affected so
             that the $625 million cash transfer from Tether’s Deltec account
             to Bitfinex’s could be characterized as a loan from Tether to
             Bitfinex. That is, the transaction documents treated Bitfinex’s
             receipt of $625 million in November 2018 as though Bitfinex had
             drawn down $625 million of the $900 million of available credit.

             The net result was that Tether had, step by step, diminished the
             backing of tethers: first, in November 2018, by going from actual
             cash in hand to $625 million in an inaccessible Crypto Capital
             account; and then, in November 2018, by replacing even that
             questionable source of backing by nothing more than a $625
             million IOU from Bitfinex—a related company with serious
             enough liquidity problems to require an emergency nine-figure
             loan.

      212
           Press Release, Attorney General James Announces Court Order Against “Crypto”
Currency Company Under Investigation For Fraud, N.Y. Att’y Gen. (April 25, 2019),
https://perma.cc/99U6-NRK9.


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Br. Opp. Stay at 13, ECF No. 6, iFinex Inc. v. James, No. 2019-03341 (1st Dep’t

August 30, 2019).

       240. If there was any doubt before, it’s now absolutely clear that Tether no

longer has cash reserves to back USDT at a 1:1 ratio.

       241.     On August 19, 2019, Judge Cohen denied Bitfinex and Tether’s

motions to dismiss on jurisdictional grounds and dissolved the stay of the OAG’s

investigation, which had been in place since May 16, 2019.213 James v. iFinex Inc.,

No. 450545/2019, 2019 WL 3891172 (N.Y. Sup. Ct. Aug. 19, 2019). Bitfinex and

Tether appealed and moved for a stay pending appeal, ECF No. 4, iFinex Inc. v.

James, No. 2019-03341 (1st Dep’t August 21, 2019). The First Department entered

an order staying discovery on September 24, 2019.214

V.     CLASS ALLEGATIONS

       242. Plaintiffs bring this action on behalf of themselves and, under Rules

23(a) and (b) of the Federal Rules of Civil Procedure, on behalf of a Class defined

as follows:

                All persons or entities that held or transacted in cryptocurrencies,
                including but not limited to USDT, ether, bitcoin, and bitcoin
                derivatives, in the United States or its territories at any time from
                October 6, 2014, through the present (the “Class”).


       213
          The OAG’s opposition to the motion to dismiss submitted extensive evidence of the
Defendants’ contacts with New York. See Whitehurst Aff. with Exhibits, ECF Nos. 81–108,
James v. iFinex Inc. (N.Y. Sup. Ct. July 8, 2019).
       214
             https://perma.cc/LXB7-E5GJ.


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      243. Excluded from the Class are any Bitfinex or Tether customers subject

to those sites’ Terms of Service which include an arbitration clause, Defendants, and

their officers, directors, management, employees, subsidiaries, or affiliates. Also

excluded is the Judge presiding over this action, his or her law clerks, spouse, and

any person within the third degree of relationship living in the Judge’s household

and the spouse of such a person.

      244. Plaintiffs reserve the right to amend the Class definition if further

investigation and/or discovery indicate that the Class definition should be narrowed,

expanded, or otherwise modified.

      245. The members of the Class are so numerous that joinder of all members

is impracticable. The precise number of Class members is unknown to Plaintiffs at

this time, but it is believed to be in the tens of thousands. Members of the Class may

be identified by publicly accessible blockchain ledger information. They may be

notified of the pendency of this action by electronic mail using a form of notice

customarily used in class actions.

      246. Defendants have acted on grounds that apply generally to the class, so

that final injunctive relief is appropriate respecting the class as a whole.

      247. Common questions of law and fact exist as to all Class members and

predominate over any questions solely affecting individual members of the Class.




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      248. Plaintiffs’ claims are typical of the claims of the other members of the

Class they seek to represent. Defendants’ practices have targeted and affected all

members of the Class in a similar manner, i.e., they have all sustained damages

arising out of Defendants’ practices.

      249. Plaintiffs will continue to fully and adequately protect the interests of

the members of the Class. Plaintiffs have retained counsel competent and

experienced in class actions and cryptocurrency related litigation. Plaintiffs have no

interests antagonistic to or in conflict with those of the Class.

      250. A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. The prosecution of separate actions by individual members of the

Class would impose heavy burdens upon the courts and would create a risk of

inconsistent or varying adjudications of the questions of law and fact common to the

Class. A class action, on the other hand, would achieve substantial economies of

time, effort, and expense, and would assure uniformity of decision with respect to

persons similarly situated without sacrificing procedural fairness or bringing about

other undesirable results. Furthermore, the interests of the members of the Class in

individually controlling the prosecution of separate actions are theoretical rather than

practical. The Class has a high degree of cohesion, and prosecution of the action

through representatives would be unobjectionable. Finally, as the damages suffered



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by some of the individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to

individually redress the wrongs done to them.

        251. Plaintiffs anticipate no difficulty in the management of this action as a

class action.

        252. WHEREFORE, Plaintiffs request that the Court order that this action

may be maintained as a class action pursuant to Rules 23(a) & (b) of the Federal

Rules of Civil Procedure, that they be named Class Representatives, that Roche

Freedman LLP be named Lead Class Counsel, and that reasonable notice of this

action, as provided by Fed. R. Civ. P. 23(c)(2), be given to the Class.

VI.     CAUSES OF ACTION

                            FIRST CAUSE OF ACTION
                               Market Manipulation
                      Commodities Exchange Act (the “CEA”)
                (Against DigFinex, the Bitfinex Defendants, the Tether
                     Defendants, and the Individual Defendants)

        253. Plaintiffs incorporate paragraphs 1 to 252.

        254. Bitcoin, ether, bitcoin derivatives, including bitcoin futures contracts,

and other cryptocurrencies are commodities within the definition of 7 U.S. Code

§ 1a.

        255. DigFinex, the Bitfinex Defendants, the Tether Defendants, and the

Individual      DigFinex,   Bitfinex,   and    Tether   Defendants   (the   “Individual



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Defendants”), through the acts alleged, specifically intended to and did cause

unlawful and artificial prices in bitcoin, ether, bitcoin derivatives, including bitcoin

futures contracts, and other cryptocurrencies in violation of the CEA, 7 U.S.C. § 1,

et seq.

          256. As demonstrated above, DigFinex, Bitfinex Defendants, Tether

Defendants, and Individual Defendants, individually and collectively, had the ability

to cause, and did cause, artificial prices.

          257. Sections 6(c)(1) and 22 of the CEA, 7 U.S.C. §§ 9, 25, make it unlawful

for any person, directly or indirectly, to use or employ or attempt to use or employ,

in connection with any swap, or a contract of sale of any commodity in interstate

commerce, or for future delivery on or subject to the rules of any registered entity,

any manipulative or deceptive device or contrivance, in contravention of such rules

and regulations as the CFTC shall promulgate not later than one year after July 21,

2010, the date Dodd-Frank was enacted. 7 U.S.C. §§ 9, 25.

          258. The CFTC timely promulgated Rule 180.1, 17 C.F.R. § 180.1. Rule

180.1 makes it

                unlawful for any person, directly or indirectly, in connection with
                any swap, or contract of sale of any commodity in interstate
                commerce, or contract for future delivery on or subject to the
                rules of any registered entity, to intentionally or recklessly:

                     (1) Use or employ, or attempt to use or employ, any
                manipulative device, scheme, or artifice to defraud;



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                   (2) Make, or attempt to make, any untrue or misleading
             statement of a material fact or to omit to state a material fact
             necessary in order to make the statements made not untrue or
             misleading;

                   (3) Engage, or attempt to engage, in any act, practice, or
             course of business, which operates or would operate as a fraud
             or deceit upon any person; or,

                    (4) Deliver or cause to be delivered, or attempt to deliver
             or cause to be delivered, for transmission through the mails or
             interstate commerce, by any means of communication
             whatsoever, a false or misleading or inaccurate report concerning
             crop or market information or conditions that affect or tend to
             affect the price of any commodity in interstate commerce,
             knowing, or acting in reckless disregard of the fact that such
             report is false, misleading or inaccurate.

17 C.F.R. § 180.1(a).

      259. DigFinex, the Bitfinex Defendants, the Tether Defendants, and the

Individual Defendants violated Rule 180.1(a), by inter alia, communicating false

information about USDT being backed 1:1, using this unbacked USDT to purchase

bitcoin and sustain false price floors, and otherwise misrepresenting the demand for

USDT, bitcoin, and other cryptocurrencies by issuing unbacked USDT and using it

to execute manipulative trades on, at least, the Bitfinex exchange. These acts were

an illegitimate part of the supply-demand equation, prevented true price discovery,

and caused artificial pricing in the cryptocurrency market.

      260. As a direct result of DigFinex, the Bitfinex Defendants, the Tether

Defendants, and the Individual Defendants’ unlawful conduct, Plaintiffs and

members of the Class have suffered actual damages and injury in fact due to artificial

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prices to which they would not have been subject but for the unlawful conduct of the

Defendants as alleged herein. Plaintiffs and members of the Class were further

legally injured and suffered injury in fact because they transacted in bitcoin, ether,

bitcoin derivatives, including bitcoin futures contracts, and other cryptocurrencies,

in an artificial and manipulated market operating under the artificial prices caused

by DigFinex, the Bitfinex Defendants, the Tether Defendants, and the Individual

Defendants. That conduct caused injury to the Plaintiffs and the Class.

       261. WHEREFORE Plaintiffs pray that the Court adjudge and decree that

DigFinex, the Bitfinex Defendants, the Tether Defendants, and the Individual

Defendants violated the CEA, 7 U.S.C. § 1, et seq., damaged Plaintiffs thereby, and

enter joint and several judgments against Defendants in favor of Plaintiffs and

members of the Class for the actual damages suffered, and disgorge Defendants of

their ill-gotten gains.

                        SECOND CAUSE OF ACTION
                           Principal Agent Liability
                          Commodities Exchange Act
             (Against DigFinex, the Bitfinex Defendants, the Tether
                  Defendants, and the Individual Defendants)

       262. Plaintiffs incorporate paragraphs 1 to 261.

       263. Bitcoin, ether, bitcoin derivatives, including bitcoin futures contracts,

and other cryptocurrencies are commodities within the definition of 7 U.S.C. § 1a.




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      264. DigFinex, the Bitfinex Defendants, the Tether Defendants, and the

Individual Defendants are each liable under Section 2(a)(1) of the CEA, 7 U.S.C.

§ 2(a)(1), for the manipulative acts of their agents, representatives and/or other

persons acting for them in the scope of their employment.

      265. Plaintiffs and members of the Class are each entitled to actual damages

sustained in cryptocurrencies, including bitcoin, ether, bitcoin derivatives, including

bitcoin futures contracts, and other cryptocurrencies, for the violations of the CEA

alleged in this Complaint.

      266. WHEREFORE Plaintiffs pray that the Court adjudge and decree that

the DigFinex, the Bitfinex Defendants, the Tether Defendants, and the Individual

Defendants violated the CEA, 7 U.S.C. § 1, et seq., damaged Plaintiffs thereby, and

enter joint and several judgments against Defendants in favor of Plaintiffs and

members of the Class for the actual damages suffered.

                        THIRD CAUSE OF ACTION
                             Aiding and Abetting
                         Commodities Exchange Act
            (Against DigFinex, the Bitfinex Defendants, the Tether
        Defendants, the Individual Defendants, and the Crypto Capital
                                 Defendants)

      267. Plaintiffs incorporate paragraphs 1 to 266.

      268. Bitcoin, ether, bitcoin derivatives, including bitcoin futures contracts,

and other cryptocurrencies are commodities within the definition of 7 U.S.C. § 1a.




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      269. DigFinex, the Bitfinex Defendants, the Tether Defendants, the

Individual Defendants, and the Crypto Capital Defendants each knowingly aided,

abetted, counseled, induced and/or procured the violations of the CEA by other

defendants. Each did so with knowledge of other defendants’ manipulation of

cryptocurrency prices through unbacked USDT issuances and manipulative trades,

and substantially and willfully intended to assist these manipulations to cause

artificial prices during the Class Period, in violation of Section 22(a)(1) of the CEA,

7 U.S.C. § 25(a)(1).

      270. WHEREFORE Plaintiffs pray that the Court adjudge and decree that

DigFinex, the Bitfinex Defendants, the Tether Defendants, and the Individual

Defendants violated the CEA, 7 U.S.C. § 1, et seq., damaged Plaintiffs thereby, and

enter joint and several judgments against Defendants in favor of Plaintiffs and

members of the Class for actual damages suffered.

                         FOURTH CAUSE OF ACTION
                             Unlawful Competition
                                Sherman Act § 2
                         (Against the Tether Defendants)

      271. Plaintiffs incorporate paragraphs 1 to 270.

      272. This action arises out of 15 U.S.C. § 15 that provides a civil remedy by

a party that was injured due to a violation of 15 U.S.C. § 2.

      273. Defendant Tether controls more than 80% of the market for stablecoins

in the United States and the world. Tether therefore has monopoly power.


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      274. Tether’s monopoly power allows it to raise prices and exclude

competition within the cryptocurrency market.

      275. As described in detail above, Tether has issued massive amounts of

unbacked USDT to flood the stablecoin market with USDT so as to willfully

maintain its monopoly on the market and exclude competition.

      276. Its issuance of unbacked USDT was designed to gain greater market

share so Tether could eliminate stablecoin competition and maintain pricing control

over the bitcoin and cryptocurrency market.

      277. Tether’s actions have actually harmed competition, consumers, and

members of the Class by decreasing consumer choice for other stablecoins and

fraudulently manipulating the price of bitcoin and other cryptocurrencies.

      278. As a result of Tether’s abusive actions, Plaintiffs and members of the

Class suffered economic damages, including compensatory and consequential

damages.

      279. WHEREFORE, Plaintiffs request that the Court adjudge and decree

that Plaintiffs and members of the Class have antitrust standing under the Clayton

Antitrust Act, 15 U.S.C. §§ 15 & 26; that the Tether Defendants violated the

Sherman Antitrust Act, 15 U.S.C. § 2; enter joint and several judgments against

Defendants in favor of Plaintiffs and members of the Class; and award Plaintiffs and

members of the Class actual damages, treble damages, and attorneys’ fees.


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                          FIFTH CAUSE OF ACTION
                            RICO 18 U.S.C. § 1962(c)
                            (Against All Defendants)

      280. Plaintiffs incorporate paragraphs 1 to 279.

      281. This Count is against DigFinex, the Bitfinex Defendants, the Tether

Defendants, the Individual Defendants and the Crypto Capital defendants

(collectively, the “Count Five Defendants”).

      282. The Count Five Defendants together constitute an “enterprise” within

the definition of 18 U.S.C. § 1961(4), that is, a group of persons associated in fact,

engaged in and whose activities affect interstate commerce.

      283. Each of the Count Five Defendants agreed to and did conduct and

participate in the conduct of the enterprise’s affairs through a pattern of unlawful

racketeering activity and for the unlawful purpose of intentionally defrauding the

Plaintiffs through the manipulation of cryptocurrency prices.

      284. Pursuant to and in furtherance of their fraudulent scheme, the Count

Five Defendants committed multiple related acts that constitute a pattern of

racketeering activity pursuant to 18 U.S.C. § 1961(5), including but not limited to

the following examples:

         a. Operating an Unlicensed Money Transmitting Business (18 U.S.C.
            1960(b)(1)(A)).

                i. Exchangers of convertible virtual currency are “money
                   transmitters” as defined at 31 C.F.R § 1010.100(ff) (5) and
                   “financial institutions” as defined at 31 C.F.R § 1010.100(t).


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       ii. Operating an unlicensed money transmitting business in New
           York is a Class A misdemeanor. N.Y. Banking Law § 650(2).

      iii. From the beginning of the Class Period to the present, DigFinex,
           the Bitfinex Defendants, and the Individual Defendants operated
           Bitfinex as a money transmitting business which affects
           interstate or foreign commerce “without an appropriate money
           transmitting license” in New York and other states “where such
           operation is punishable as a misdemeanor or a felony under State
           law.” 18 U.S.C. § 1960(b)(1)(A).

      iv. From the beginning of the Class Period to the present, DigFinex,
          the Tether Defendants, and the Individual Defendants operated
          Tether as money transmitting business which affects interstate or
          foreign commerce “without an appropriate money transmitting
          license” in New York and other states “where such operation is
          punishable as a misdemeanor or a felony under State law.” 18
          U.S.C. § 1960(b)(1)(A).

       v. From the beginning of the Class Period to the present, Crypto
          Capital Corp., Global Trade Solutions AG and Reginald Fowler
          operated Crypto Capital as a money transmitting business which
          affects interstate or foreign commerce “without an appropriate
          money transmitting license” in New York and other states
          “where such operation is punishable as a misdemeanor or a
          felony under State law.” 18 U.S.C. § 1960(b)(1)(A).

 b. Operating an Unlicensed Money Transmitting Business (18 U.S.C.
    1960(b)(1)(B)).

       i. From the beginning of the Class Period to the present, DigFinex
          and the Bitfinex and Individual Defendants operated Bitfinex as
          a money transmitting businesses that failed “to comply with the
          money transmitting business registration requirements under
          section 5330 of title 31, United States Code, or regulations
          prescribed under such section.” 18 U.S.C. § 1960(b)(1)(B).

       ii. While the Count Five Defendants registered BFXNA Inc. as
           money services business with FinCEN, they have falsely
           reported that its activities were limited to Wyoming, and also
           conducted Bitfinex’s money transmitting business in the United


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          States through a number of other unregistered entities and shell
          companies.

      iii. From the beginning of the Class Period to the present, DigFinex
           the Tether Defendants, and Individual Defendants operated
           Tether as a money transmitting business that failed “to comply
           with the money transmitting business registration requirements
           under section 5330 of title 31, United States Code, or regulations
           prescribed under such section.” 18 U.S.C. § 1960(b)(1)(B).

      iv. While the DigFinex, the Tether Defendants, and Individual
          Defendants registered Tether Limited as a money services
          business with FinCEN, they have falsely reported that its
          activities were limited to Wyoming, and also conducted Tether’s
          money transmitting business in the United States through a
          number of other unregistered entities and shell companies.

       v. From the beginning of the Class Period to the present, Crypto
          Capital Corp., Global Trade Solutions AG and Reginald Fowler
          operated Crypto Capital operated Crypto Capital as a money
          transmitting business that failed “to comply with the money
          transmitting business registration requirements under section
          5330 of title 31, United States Code, or regulations prescribed
          under such section.” 18 U.S.C. § 1960(b)(1)(B).

 c. Operating an Unlicensed Money Transmitting Business (18 U.S.C.
    1960(b)(1)(C)).

       i. From the beginning of the Class Period to the present, the Count
          Five Defendants operation of Bitfinex, Tether, and Crypto
          Capital involved “the transportation or transmission of funds”
          they knew “to have been derived from a criminal offense or
          [we]re intended to be used to promote or support unlawful
          activity” in violation of 18 U.S.C. § 1960(b)(1)(C).

       ii. For example, even though he knew that Crypto Capital funds had
           been seized by law enforcement, Devasini continued to instruct
           customers to use Crypto Capital for withdrawals.

 d. Money Laundering (18 U.S.C. § 1956)



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       i. During the Class Period, the Count Five Defendants used and
          directed customers to use various bank accounts opened by
          Crypto Capital to engage in U.S. dollar transactions with the
          intent to conceal or disguise the true nature, location, source,
          ownership, or control of the funds, including:

              1. An account in the name Crypto S.P. Z.O.O. at
                 Spoldzielczy Bank in Poland that was used on or around
                 November 2017;

              2. Accounts in the names of Global Trade Solutions AG,
                 MOGW Energy Trade LDA, and Eligibility Criterion
                 Unipessoal LDA at Caixa Geral de Depositos in Portugal
                 that were used on or around February 2018;

              3. Accounts in the name of Global Trading Solutions, LLC
                 at HSBC Bank N.A. in New York on or around October
                 2018, Enterprise Bank & Trust in New Jersey during 2018,
                 and Citibank in New York during 2018.

       ii. During the Class Period, the Defendants used Renrenbee Limited
           as a shell company to open bank accounts and engage in U.S.
           dollar transactions with the intent to conceal or disguise the true
           nature, location, source, ownership, or control of the funds.

      iii. On or around January 24, 2018, the Count Five Defendants used
           Haparc B.V. as a shell company to open a bank account at ING
           Bank and engage in U.S. dollar transactions with the intent to
           conceal or disguise the true nature, location, source, ownership,
           or control of the funds.

      iv. On or around June 15, 2018, the Count Five Defendants
          incorporated the Hong Kong company Prosperity Revenue
          Merchandising and by October 16, 2018 had begun using it as a
          shell company to open a bank account at the Bank of
          Communications and engage in U.S. dollar transactions through
          a correspondent account at Citibank in New York with the intent
          to conceal or disguise the true nature, location, source,
          ownership, or control of the funds.

 e. Bank Fraud (18 U.S.C. § 1344)


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                  i. From 2015 to the present, the Count Five Defendants knowingly
                     executed and attempted to execute a scheme or artifice to defraud
                     a U.S. financial institution, and to obtain moneys, funds, credits,
                     assets, securities, and other property owned by and under the
                     custody and control of a U.S. financial institution, by means of
                     false and fraudulent pretenses, representations, and promises.

                 ii. The Count Five Defendants “intended to and did victimize the
                     U.S. banks and exposed them to actual or potential losses” when
                     they used shell companies like those described above in
                     paragraph 284(d) and repeatedly “provided false and misleading
                     statements through the use of multiple layered entities and by
                     stripping material information from wire transfer instructions
                     which influenced the decision-making of the U.S. banks.”215

            f. Monetary Transactions Derived from Specified Unlawful Activities (18
               U.S.C. § 1957).

                  i. The Count Five Defendants also knowingly engaged in monetary
                     transactions with funds derived from specified unlawful
                     activities, namely operating an unlicensed money transmitting
                     business, money laundering, and bank fraud in violation of 18
                     U.S.C. §§ 1960, 1956, 1344.

            g. Monetary Transactions Derived from Specified Unlawful Activities (18
               U.S.C. § 1957).

                  i. The Count Five Defendants also knowingly engaged in monetary
                     transactions with funds derived from specified unlawful
                     activities, namely operating an unlicensed money transmitting
                     business, money laundering, and bank fraud in violation of 18
                     U.S.C. §§ 1960, 1956, 1344.

            h. Wire Fraud (18 U.S.C. § 1343)

                  i. The Count Five Defendants knowingly engaged in wire fraud by
                     transmitting by means of wire, i.e. the internet, numerous and



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           United States v. Zarrab, No. 15-CR-867 (RMB), 2016 WL 6820737, at *13 (S.D.N.Y.
Oct. 17, 2016).


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                   false representations that, inter alia, USDT were backed 1:1 by
                   U.S. dollars in violation of 18 U.S.C. § 1343.

               ii. For example, even though he knew that Crypto Capital could not
                   process transactions, Devasini continued to instruct customers to
                   use Crypto Capital in violation of 18 U.S.C. § 1343.

      285. The acts of money laundering, bank fraud, monetary transactions

derived from specified unlawful activities, wire fraud, and the operation of an

unlicensed money transmitting business set forth above constitute a pattern of

racketeering activity pursuant to 18 U.S.C. § 1961(5).

      286. The Count Five Defendants have directly and indirectly conducted and

participated in the conduct of the enterprise’s affairs through the pattern of

racketeering and activity described above, in violation of 18 U.S.C. § 1962(c).

      287. As a direct and proximate result of the Count Five Defendants’

racketeering activities and violations of 18 U.S.C. § 1962(c), the Count Five

Defendants were able to manipulate cryptocurrency prices and injure Plaintiffs’

property.

      288. WHEREFORE, Plaintiffs request that this Court enter judgment against

the Count Five Defendants for actual damages, treble damages, attorneys’ fees and

disgorgement of ill-gotten gains.

                         SIXTH CAUSE OF ACTION
                                     Fraud
            (Against the Bitfinex Defendants and Tether Defendants)

      289. Plaintiffs incorporate the paragraphs 1 to 288.


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      290. The Bitfinex and Tether Defendants repeatedly made materially false

statements, or misleadingly omitted to state a material fact, including the following

examples:

         a. On October 5, 2019, the Bitfinex website falsely stated “All Tether
            tokens are fully backed by reserves and are issued and traded on
            Bitfinex pursuant to market demand, and not for the purpose of
            controlling the pricing of crypto assets.”

         b. On August 20, 2019, the Bitfinex website falsely stated that “Any
            assertion that we have misled our customers about Tether (USDT), its
            backing, or about the negotiated transaction between Bitfinex and
            Tether is false.”

         c. Until at least August 17, 2019, Bitfinex’s website falsely stated that
            “outstanding [USDT] are backed 1-to-1 by traditional currency,” that
            “1 USDT is always equivalent to 1 USD.”

         d. On March 4, 2019, Tether’s website falsely stated that USDT was “1-1
            pegged to the dollar” and “100% backed.”

         e. Until February 19, 2019, Tether’s website falsely stated that “[E]very
            [USDT] is backed 1-1 by traditional currency held in our reserves. So,
            1 USDT is always equivalent to 1 USD.”

         f. In a sworn declaration dated April 5, 2017, Velde falsely stated that
            Tether is a financial technology company that operates a platform to
            store, send, and make purchases with a form of digital currency – digital
            tokens called tethers – that are fully backed by U.S. dollars on deposit
            from customers,” that “[USDT] may be redeemed or exchanged for the
            underlying U.S. dollars,” that “customers who want to purchase
            [USDT] through Tether must deposit U.S. dollars in their Tether
            account and in exchange receive an equivalent amount of [USDT] until
            they ask Tether to remit back the U.S. dollars they deposited. . . . For
            these systems to work, customers depend on Bitfinex’s and Tether’s
            ability to send back to them the U.S. dollars they deposited with
            Bitfinex or Tether.”




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            g. On June 17, 2016, Tether released a white paper that falsely stated that
               “each [USDT] in circulation represents one US dollar held in our
               reserves (i.e. a one-to-one ratio) which means the system is fully
               reserved when the sum of all [USDT] in existence (at any point in time)
               is exactly equal to the balance of USD held in our reserve” and that that
               USDT “may be redeemable/exchangeable for the underlying fiat
               currency pursuant to Tether Limited’s terms of service or, if the holder
               prefers, the equivalent spot value in Bitcoin.”216

            h. Until at least March 20, 2015, Tether’s website falsely stated that
               “Tether currencies are essentially Dollars, Euros, and Yen formatted to
               work on the Blockchain. [USDT]s always hold their value at 1:1 to their
               underlying assets.”

            i. Until at least March 20, 2015, Tether’s website falsely stated that USDT
               “is backed 100% by actual fiat currency assets in our reserve account
               and always maintains a one-to-one ratio with any currency held. For
               example, 1 USDT = 1 USD. With almost zero conversion and transfer
               fees, [USDT] is redeemable for cash at any time.”

            j. On January 15, 2015, Bitfinex falsely stated that “Each [USDT] is
               backed 1-to-1 by its corresponding currency, which can be viewed and
               verified in real-time via the Tether.to website and on the Blockchain.
               Tether will be fully transparent and audited to demonstrate 100%
               reserves at all times.”

            k. Bitfinex’s use of unbacked USDT was also fraudulent as it was a false
               representation to the market of bitcoin’s price and demand.

      291. The Bitfinex Defendants and Tether Defendants made these statements

knowing that they were false, or with reckless disregard for their truth.

      292. The Bitfinex Defendants and Tether Defendants never corrected these

materially false statements and continue to represent to Plaintiffs and the public that

USDT was backed by a 1:1 guarantee.


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            Id. at 4.


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      293. The Bitfinex Defendants and the Tether Defendants intended that the

market, and Plaintiffs as participants in the market, rely on these false

representations of material fact.

      294. Plaintiffs reasonably relied on these false representations of material

fact to their detriment when purchasing and selling cryptocurrencies at artificial

prices caused by these materially false statements.

      295. As an actual and proximate result of the above, Plaintiffs have suffered

actual damages in a result to be determined at trial.

      296. The Bitfinex Defendants and Tether Defendants committed all of the

aforesaid acts deliberately, willfully, maliciously and oppressively.

      297. WHEREFORE, Plaintiffs request that this Court enter judgment against

the Bitfinex and Tether Defendants for actual damages and punitive damages.

                      SEVENTH CAUSE OF ACTION
   Violation of the New York Deceptive Trade Practices Law NY GBL §349
           (Against the Bitfinex Defendants and Tether Defendants)

      298. Plaintiffs incorporate the paragraphs 1 to 297.

      299. In committing the acts alleged above, the Bitfinex and Tether

Defendants engaged in unfair, deceptive, untrue or misleading acts by omitting, or

failing to disclose the material fact that USDT was not backed 1:1 and that the market

demand created by the Bitfinex and Tether Defendants was fraudulent.




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      300. These above-described unlawful, unfair and fraudulent business

practices by the Tether and Bitfinex Defendants present an ongoing threat to

Plaintiffs and the putative Class. The Tether and Bitfinex Defendants have

systematically perpetrated deceptive and unfair practices upon members of the

public and have intentionally deceived the market.

      301. The Bitfinex and Tether Defendants’ willful and knowing violation of

NY GBL §349 has caused Plaintiffs and the Class to suffer injury.

      302. Further, the Bitfinex and Tether Defendants’ deceptive practices were

consumer-oriented aimed at manipulating the cryptocurrency market and thereby

transfer wealth from consumers to themselves.

      303. The Bitfinex and Tether Defendants should be required to make

restitutionary disgorgement of its ill-gotten profits pursuant to GBL §349.

      304. Plaintiffs are entitled to all applicable damages, including treble

damages, injunctive relief, and attorneys’ fees pursuant to GBL §349-h.

                        EIGHTH CAUSE OF ACTION
                          Permanent Injunctive Relief
            (Against the Bitfinex Defendants and Tether Defendants)

      305. Plaintiffs incorporate the paragraphs 1 to 304, and to the extent

necessary, plead this cause of action in the alternative.




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      306. Permanent and irreparable injury will result unless the Tether and

Bitfinex Defendants are permanently stopped from issuing unbacked USDT and/or

using that USDT and the Bitfinex exchange to manipulate the price of bitcoin.

      307. Accordingly, Plaintiffs seek permanent and injunctive relief prohibiting

this practice

      308. WHEREFORE, Plaintiffs request this Court enter judgment against the

Tether and Bitfinex Defendants for injective relief as permitted by law.

                COSTS, INTEREST, AND ATTORNEYS’ FEES

      309. WHEREFORE, Plaintiffs request that the Court award reasonable costs

of suit, pre- and post-judgment interest, and reasonable attorney’s fees.

                                   JURY TRIAL

      310. Plaintiffs demand a trial by jury for all claims.




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Dated: October 6, 2019
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